Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                          # Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Fairn & Swanson, Inc.

2.   All other names debtor       DBA     Cloud Trading Co
     used in the last 8 years     DBA     South Seas Distribution
     Include any assumed
                                  DBA     Taupo Trading
     names, trade names and       DBA     Proost Marketing
     doing business as names      DBA     Southern Distillers and Blenders
                                  DBA     D.F. Trust Territories
                                  DBA     Dave Streiffer Co.
                                  DBA     Berg & Stephens
                                  DBA     Baja Duty Free - San Diego
                                  DBA     Baja Duty Free - Oakland
                                  DBA     Baja Duty Free - Eagle Pass
                                  DBA     Baja Duty Free - Laredo
                                  DBA     Baja Duty Free - Calexico
                                  DBA     Baja Duty Free - El Paso
                                  DBA     United Distillers

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  400 Lancaster St.
                                  Oakland, CA 94601
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Alameda                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.fairn.com; www.bajadutyfree.com


6.   Type of debtor               "   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  # Partnership (excluding LLP)
                                  # Other. Specify:




                Case: 20-40990              Doc# 1         Filed: 06/02/20 Entered: 06/02/20 16:05:38                             Page 1 of
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                                                        132
Debtor    Fairn & Swanson, Inc.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                       #   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       #   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       #   Railroad (as defined in 11 U.S.C. § 101(44))
                                       #   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       #   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       #   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       "   None of the above

                                       B. Check all that apply
                                       # Tax-exempt entity (as described in 26 U.S.C. §501)
                                       # Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       # Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4248

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                    "   Chapter 7
                                       # Chapter 9
     A debtor who is a “small          # Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                     # The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                          # The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            # A plan is being filed with this petition.
                                                            # Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            # The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            # The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       # Chapter 12

9.   Were prior bankruptcy             " No.
     cases filed by or against
     the debtor within the last 8      # Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number


10. Are any bankruptcy cases           " No
    pending or being filed by a
    business partner or an             # Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                 Relationship
                                                 District                                 When                          Case number, if known

                 Case: 20-40990                Doc# 1        Filed: 06/02/20 Entered: 06/02/20 16:05:38                                Page 2 of
Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                                                          132
Debtor   Fairn & Swanson, Inc.                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                "      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                #      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or      # No
    have possession of any
    real property or personal   " Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                           # It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           # It needs to be physically secured or protected from the weather.
                                           " It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                           " Other        Security for border stores and inventory
                                           Where is the property?           See Attached, 00000-0000
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                           # No
                                           " Yes.       Insurance agency    See Attached
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                        " Funds will be available for distribution to unsecured creditors.
                                        # After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         # 1-49                                          # 1,000-5,000                              # 25,001-50,000
    creditors                   # 50-99                                         # 5001-10,000                              # 50,001-100,000
                                # 100-199                                       # 10,001-25,000                            # More than100,000
                                " 200-999

15. Estimated Assets            # $0 - $50,000                                  # $1,000,001 - $10 million                 # $500,000,001 - $1 billion
                                # $50,001 - $100,000                            " $10,000,001 - $50 million                # $1,000,000,001 - $10 billion
                                # $100,001 - $500,000                           # $50,000,001 - $100 million               # $10,000,000,001 - $50 billion
                                # $500,001 - $1 million                         # $100,000,001 - $500 million              # More than $50 billion

16. Estimated liabilities       # $0 - $50,000                                  # $1,000,001 - $10 million                 # $500,000,001 - $1 billion
                                # $50,001 - $100,000                            " $10,000,001 - $50 million                # $1,000,000,001 - $10 billion
                                # $100,001 - $500,000                           # $50,000,001 - $100 million               # $10,000,000,001 - $50 billion
                                # $500,001 - $1 million                         # $100,000,001 - $500 million              # More than $50 billion




                Case: 20-40990            Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                               Page 3 of
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                                                        132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 4 of
                                       132
                                     In re Fairn & Swanson, Inc.

                                   Attachment to Voluntary Petition

12.    Location of Personal Property that Needs Immediate Attention

#            Location                Address
       1     Seattle                 9875 40TH Ave So., Seattle WA
       2     Oakland                 400 Lancaster St, Oakland CA
       3     Otay Mesa Whse          1351 Air Wing Rd, San Diego CA
       4     Laredo Warehouse        417 Grand Central Blvd, laredo TX
       5     Florida                 701 NW 33rd Ste 150, Pompano FL
       6     SY Office               195 Virginia Ave, San Ysidro CA
       7     San Ysidro              4590 Border Village Rd, San Ysidro CA
       8     Eagle Passs             198 Commercial St, Eagle Pass TX
                                     San Ysidro Shopping Ctr, 4490 Camino De La Plaza, San Ysidro
       9     Gateway                 CA
      10     Calexico                245 Imperial Ave, Calexico CA
      11     Tecate                  405 Tecate Rd, Tecate CA
      12     Trolley                 723 E. San Ysiudro Blvd, San Ysidro CA
      13     Laredo                  1420 Grant St, Laredo TX
      14     El Paso                 800 S. Stanton, El Paso TX
      15     San Luis                508 Archibald St, San Luis AZ
      16     Otay Store              2455 Otay Center Dr Ste120-121, San Diego CA

Insurance:

Zurich American Insurance Company
Falvey Cargo Underwriting




 Case: 20-40990           Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38          Page 5 of
                                                132
 Fill in this information to identify the case:

 Debtor name            Fairn & Swanson, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                   # Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      42,939,730.22

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      42,939,730.22


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      19,052,398.23


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $           113,149.20

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      21,319,663.78


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        40,485,211.21




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                Case: 20-40990                             Doc# 1                Filed: 06/02/20 Entered: 06/02/20 16:05:38                                                             Page 6 of
                                                                                              132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 7 of
                                       132
 Fill in this information to identify the case:

 Debtor name         Fairn & Swanson, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                             # Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      # No. Go to Part 2.
      " Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Wells Fargo Border Village                                Deposit                     5805                                           $0.00



                                                                             Disbursement (Master
            3.2.   Wells Fargo - Boarder Village                             Account)                    6041                                           $0.00




            3.3.   Wells Fargo Calexico                                      Deposit                     5913                                           $0.00



                                                                             Disbursement (Master
            3.4.   Wells Fargo Calexico                                      Account)                    6017                                           $0.00




            3.5.   Wells Fargo Florida                                       Checking and Deposit        4755                                           $0.00




            3.6.   Wells Fargo Gteway                                        Deposit                     5950                                           $0.00




            3.7.   Wells Fargo Laredo                                        Deposit                     5797                                           $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
               Case: 20-40990                    Doc# 1              Filed: 06/02/20 Entered: 06/02/20 16:05:38                     Page 8 of
                                                                                  132
 Debtor            Fairn & Swanson, Inc.                                                     Case number (If known)
                   Name




            3.8.     Wells Fargo Laredo                                      Disbursement                    6025                      $0.00




            3.9.     Wells Fargo Corporate                                   Deposit                         5969            $131,935.18



            3.10
            .    Wells Fargo Corporate                                       Disbursement                    5977              $27,530.20



            3.11
            .    Wells Fargo Otay                                            Deposit                         6058                      $0.00



            3.12
            .    Wells Fargo Seattle                                         Deposit                         5813                      $0.00



            3.13
            .    Wells Fargo Seattle                                         Disbursement                    6074                      $0.00



            3.14
            .    Wells Fargo Tecate                                          Deposit                         6033                      $0.00



            3.15
            .    Wells Fargo Trolley                                         Deposit                         6009                      $0.00



            3.16
            .    Chase Bank El Baso                                          Checking and Deposit            9507              $10,000.00



            3.17
            .    IBC Bank Eagle Pass                                                                         4305              $10,000.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                               $179,465.38
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      # No. Go to Part 3.
      " Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     ATC Associates, Inc. - Trolley store security deposit                                                        $7,500.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
               Case: 20-40990                    Doc# 1              Filed: 06/02/20 Entered: 06/02/20 16:05:38       Page 9 of
                                                                                  132
 Debtor           Fairn & Swanson, Inc.                                                      Case number (If known)
                  Name




           7.2.     C.A. Newell - Seattle security deposit                                                                       $8,250.00




           7.3.     Calexico Price Busters, Inc. Calecixo security deposit                                                       $3,454.31




           7.4.     Florida Power & Light acct 4508 deposit                                                                      $1,168.00




           7.5.     Florida Power & Light - acct 5269 deposit                                                                    $1,199.00




           7.6.     FS San Ysidro LLC c/o Westwood Financial Corp. - Gateway security deposit                                  $18,075.00




           7.7.     Geller Trust - Border Village store security deposit                                                         $8,280.00




           7.8.     George Farhat - Eagle Pass security deposit                                                                    $800.00




           7.9.     Irma Barragan - San Luis store security deposit                                                              $1,800.00



           7.10
           .    Juan & Berthha Montano - El Paso security deposit                                                                $4,032.00



           7.11
           .    JV Rental, LLC - Lancaster security deposit                                                                    $46,554.75



           7.12
           .    Otay Mesa Crossroads - Otay Mesa store security deposit                                                          $4,000.00



           7.13
           .    Port of Oakland - security deposit                                                                                 $327.80



           7.14
           .    ProLogis - Florida security deposit at Pompano location                                                        $37,305.29



           7.15
           .    Ricardo Montalvo - Laredo warehouse security deposit                                                             $4,000.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38           Page 10 of
                                                                               132
 Debtor           Fairn & Swanson, Inc.                                                      Case number (If known)
                  Name




           7.16
           .    Robert De Jesus Garza - Laredo Security Deposit                                                                  $2,250.00



           7.17
           .    T.C. Worthy Cash and Carry, Inc. Tecate security deposit                                                         $3,500.00



           7.18
           .    Tom E. Dixson, Trustee - Border Village office security deposit                                                  $2,585.00



           7.19
           .    Uhlig Survivor and Marital Trust - Calexico security deposit                                                   $12,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Harland Technology Service - printer maintenance 10/27/19                                                    $1,236.05




           8.2.     KIS Computer Center - Barracuda antivirus protection 9/27/19 - 9/26/20                                         $650.81




           8.3.     KIS Computer Center - Barracuda cloud storage 7/18/19 - 7/18/20                                              $1,413.90




           8.4.     Fire Protection Management - Oakland fire system 8/16 - 7/21                                                   $611.55




           8.5.     KIS Computer Center - Barraduca antivirus protection 8/4/19 - 8/3/20                                           $657.00




           8.6.     Wells Fargo Bank - Amendment/covenant fee Nov. 2017 - Oct. 2022                                              $7,587.60




           8.7.     Imperial County Treasurer - Calexico property tax                                                            $2,225.52




           8.8.     Wells Fargo Bank - 2nd Amendment legal fee Nov. 2017 - Oct. 2022                                               $621.00




           8.9.     City of Fort Lauderdale - FTZ annual fee 10/1/18 - 9/30/19                                                   $3,333.31


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38           Page 11 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                        Case number (If known)
                Name


            8.10
            .    Travelers Insurance - Calexico general insurance                                                                  $154.51



            8.11
            .    Imperial County Treasurer - Calexico property tax                                                                 $239.16



            8.12
            .    Imperial County Treasurer - Calexico property tax                                                                 $417.68



            8.13
            .    City of Oakland                                                                                                 $7,630.14



            8.14
            .    City of Calexico - 2020 business tax                                                                            $1,113.00



            8.15
            .    Bay Alarm Company                                                                                                 $825.30



            8.16
            .    ABD Insurance - General Insurance                                                                             $63,962.02



            8.17
            .    ABD Insurance - Customs bond FTZ for Seattle & Florida                                                          $2,083.31



            8.18
            .    Credit/Prepayment to Bornvit Company                                                                            $1,605.00



            8.19
            .    Credit/Prepayment - Carisam-Samuel Meise Inc.                                                                     $383.80



            8.20
            .    Credit/Prepayment - Columbia Distributing                                                                       $4,074.20




 9.         Total of Part 2.                                                                                               $267,906.01
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      # No. Go to Part 4.
      " Yes Fill in the information below.
 11.        Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38           Page 12 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                             Case number (If known)
                Name


           11a. 90 days old or less:                         1,270,116.00    -                                   0.00 = ....               $1,270,116.00
                                              face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                            1,422,641.37    -                           23,473.00 =....                   $1,399,168.37
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                            $2,669,284.37
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

    " No.    Go to Part 5.
    # Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    # No. Go to Part 6.
    " Yes Fill in the information below.
           General description                        Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory Items                                                                      $0.00                                    $39,110,570.01



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                           $39,110,570.01
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
           # No
           " Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           # No
           " Yes. Book value               632,983.70 Valuation method                           Current Value                               0.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           # No
           " Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    " No.    Go to Part 7.
    # Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                        Page 13 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                         Case number (If known)
                Name



 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    # No. Go to Part 8.
    " Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture & fixtures                                                      $0.00                                       $59,858.84



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment                                                                 $0.00                                       $13,249.86


           Computer equipment                                                               $0.00                                      $142,877.63



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $215,986.33
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
           # No
           " Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           # No
           " Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    # No. Go to Part 9.
    " Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     1998 Toyota Tacoma VIN 4053                                            $0.00    Kelley Blue Book                     $3,895.00


           47.2.     2001 GMC Savana VIN 8625                                               $0.00    Kelley Blue Book                     $3,871.00


           47.3.     2012 Freightliner VIN 2433                                         $7,917.00    Penske                             $12,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                  Page 14 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                        Case number (If known)
                Name

           47.4.     2001 Isuzu truck VIN 0596                                              $0.00    Comparable sale               $7,250.00


           47.5.     2006 Ford E350 VIN 3371                                                $0.00    Kelly Blue Book               $5,542.00


           47.6.     2003 Ford Club Wagon VIN 8493                                          $0.00    Kelley Blue Book              $3,687.00


           47.7.     2003 Ford Club Wagon VIN 8495                                          $0.00    Kelley Blue Book              $3,687.00


           47.8.     2003 Ford Club Wagon VIN 8498                                          $0.00    Kelley Blue Book              $3,687.00


           47.9.     2007 Chrysler Town & Country VIN 1070                                  $0.00    Kelley Blue Book              $3,909.00


           47.10
           .     2006 Ford Club Wagon VIN 96142                                             $0.00    Kelley Blue Book              $2,495.00


           47.11
           .     2012 Ford Econoline Van VIN 7097                                           $0.00    Kelley Blue Book            $11,115.00


           47.12
           .     2008 Ford Club Wagon VIN 4829                                              $0.00    Kelley Blue Book              $6,673.00


           47.13
           .     2002 GMC Yukon VIN 3599                                                    $0.00    Carfax                        $4,995.00


           47.14
           .     2005 Ford Ranger VIN 3386                                                  $0.00    Kelley Blue Book              $4,928.00


           47.15
           .     2014 Ford Econoline VIN 9315                                               $0.00    Kelley Blue Book            $13,349.00


           47.16
           .     2006 Ford E350 Van VIN 9374                                                $0.00    Kelley Blue Book              $4,666.00


           47.17
           .     2004 Ford Club Wagon VIN 7558                                              $0.00    Kelley Blue Book              $3,812.00


           47.18
           .     2004 Ford E150 XLT VIN 3604                                                $0.00    Kelley Blue Book              $3,812.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Warehouse Equipment                                                              $0.00    Net Book Value                $4,793.67




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38             Page 15 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                         Case number (If known)
                Name


           Forklifts                                                                        $0.00                                          $8,644.81



 51.       Total of Part 8.                                                                                                         $116,811.48
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
           # No
           " Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           " No
           # Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

    # No. Go to Part 10.
    " Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used    Current value of
           property                                       extent of           debtor's interest      for current value        debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     9875 40th Ave. So,
                     Seattle WA                           Rental                            $0.00                                                 $0.00


           55.2.
                     400 Lancaster St.,
                     Oakland CA                           Rental                            $0.00                                                 $0.00


           55.3.
                     4590 Border Village
                     Rd., San Ysidro CA                   Rental                            $0.00                                                 $0.00


           55.4.
                     195 Virginia Ave.,
                     San Ysidro CA                        Rental                            $0.00                                                 $0.00


           55.5.
                     198 Commercial St.,
                     Eagle Pass TX                        Rental                            $0.00                                                 $0.00


           55.6.
                     140 Rio Grande St.,
                     Eagle Pass TX                        Rental                            $0.00                                                 $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                  Page 16 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                        Case number (If known)
                Name

           55.7.     San Ysidro Shopping
                     Center, 4490 Camino
                     De La, San Ysidro,
                     CA                                   Rental                            $0.00                                      $0.00


           55.8.
                     1351 Air Wing Rd.,
                     San Diego, CA                        Rental                            $0.00                                      $0.00


           55.9.
                     245 Imperial Ave.,
                     Calexico, CA                         Rental                            $0.00                                      $0.00


           55.10
           .     405 Tecate Rd.,
                     Tecate CA                            Rental                            $0.00                                      $0.00


           55.11
           .     723 E. San Ysidro
                     Blvd., San Ysidro, CA                Rental                            $0.00                                      $0.00


           55.12
           .     1420 Grant St.,
                     Laredo TX                            Rental                            $0.00                                      $0.00


           55.13
           .     800 S. Stanton, El
                     Paso TX                              Rental                            $0.00                                      $0.00


           55.14
           .     701 NW 33rd Ste. 150,
                     Pompano FL                           Rental                            $0.00                                      $0.00


           55.15
           .     508 Archibald St.,
                     San Luis AZ                          Rental                            $0.00                                      $0.00


           55.16
           .     417 Grand Central
                     Blvd., Laredo TX                     Rental                            $0.00                                      $0.00


           55.17 2455 Otay Center Dr.
           .     Ste. 120-121, San
                     Diego, CA                            Rental                            $0.00                                      $0.00




 56.       Total of Part 9.                                                                                                         $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
           " No
           # Yes
 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 10
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38           Page 17 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                         Case number (If known)
                Name


            " No
            # Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    # No. Go to Part 11.
    " Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Seawolf Cigarettes                                                         Unknown                                            Unknown



 61.        Internet domain names and websites
            www.fairn.com; www.bajadutyfree.com                                             $0.00                                         Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            " No
            # Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            " No
            # Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            " No
            # Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    # No. Go to Part 12.
    " Yes Fill in the information below.
                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 11
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                  Page 18 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                        Case number (If known)
                Name



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Land and leasehold improvments - BORDER VILLAGE
           STORE                                                                                                               $10,406.06



           Land and leasehold improvments - CALEXICO STORE                                                                     $12,197.84


           Land and leasehold improvments - EAGLE PASS
           STORE                                                                                                                 $4,623.15



           Land and leasehold improvments - EL PASO STORE                                                                      $10,160.63


           Land and leasehold improvments - FLORIDA
           WAREHOUSE                                                                                                         $108,487.92



           Land and leasehold improvments - GATEWAY STORE                                                                        $9,797.87


           Land and leasehold improvments - HQ OAKLAND
           OFFICE                                                                                                              $10,967.08



           Land and leasehold improvments - LAREDO STORE                                                                         $1,468.04


           Land and leasehold improvments - LAREDO
           WAREHOUSE                                                                                                             $5,034.68


           Land and leasehold improvments - OAKLAND
           WAREHOUSE                                                                                                           $42,771.35



           Land and leasehold improvments - OTAY MESA STORE                                                                      $5,732.92



           Land and leasehold improvments - SAN LUIS STORE                                                                       $3,700.00


           Land and leasehold improvments - SAN YSIDRO
           OFFICE                                                                                                                      $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 12
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38           Page 19 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                        Case number (If known)
                Name


           Land and leasehold improvments - SEATTLE
           WAREHOUSE                                                                                                             $5,828.52



           Land and leasehold improvments - TECATE STORE                                                                         $4,770.50



           Land and leasehold improvments - TROLLEY STORE                                                                        $3,124.51


           Land and leasehold improvments - OTAY MESA
           WAREHOUSE                                                                                                             $8,916.59



           Diageo - southern border 2% rebate                                                                                  $26,688.49



           The Clorox Sales Co. Oakland HBA rebate                                                                               $1,714.05



           Prologis Florida 2019 CAM reconciliation                                                                            $13,214.60



           Bottega misc receivables                                                                                                  $98.00



           Brown-Forman misc receivables                                                                                         $4,764.63



           Campari misc receivables                                                                                                $879.00



           Heineken misc receivables                                                                                             $6,093.50



           MillerCoors misc receivables                                                                                          $3,528.00



           Philip Morris misc receivables                                                                                      $52,838.71



           Proximo Spirits misc receivables                                                                                        $400.00



           RJ Reynolds Promo misc receivables                                                                                  $21,500.00




 78.       Total of Part 11.                                                                                                $379,706.64
           Add lines 71 through 77. Copy the total to line 90.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 13
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38           Page 20 of
                                                                               132
 Debtor         Fairn & Swanson, Inc.                                                        Case number (If known)
                Name

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           " No
           # Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 14
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38           Page 21 of
                                                                               132
 Debtor          Fairn & Swanson, Inc.                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $179,465.38

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $267,906.01

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,669,284.37

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                         $39,110,570.01

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $215,986.33

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $116,811.48

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $379,706.64

 91. Total. Add lines 80 through 90 for each column                                                       $42,939,730.22             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $42,939,730.22




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 15
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
               Case: 20-40990                      Doc# 1              Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 22 of
                                                                                     132
 Fill in this information to identify the case:

 Debtor name          Fairn & Swanson, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           # Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       # No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       " Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1    Wells Fargo Bank                              Describe debtor's property that is subject to a lien                  $19,052,398.23                        $0.00
        Creditor's Name                               Accounts, inventory, accounts receivable and
        2450 Colorado Ave., Ste.                      other assets
        3000W
        Santa Monica, CA 90404
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      " No
        Creditor's email address, if known            # Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        " No
        1/20/17                                       # Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        " No                                          # Contingent
        # Yes. Specify each creditor,                 # Unliquidated
        including this creditor and its relative      # Disputed
        priority.




                                                                                                                              $19,052,398.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      23

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Jeremy Downs
         Goldberg Kohn                                                                                         Line   2.1
         55 East Monroe, Suite 3300
         Chicago, IL 60603




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
              Case: 20-40990                       Doc# 1        Filed: 06/02/20 Entered: 06/02/20 16:05:38                                  Page 23 of
                                                                               132
 Fill in this information to identify the case:

 Debtor name         Fairn & Swanson, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                          # Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          # No. Go to Part 2.
          " Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $112,567.59         $13,650.00
           Albert Savedra                                            Check all that apply.
           23 Kinross Drive                                          # Contingent
           San Rafael, CA 94901                                      # Unliquidated
                                                                     # Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     # Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           California Department of Tax and                          Check all that apply.
           Fee Adm                                                   # Contingent
           Account Information Group, MIC:                           # Unliquidated
           29                                                        # Disputed
           PO Box 942879
           Sacramento, CA 94279-0029
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For notice purposes only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     # Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                   27073                               Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                 Page 24 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                           Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $398.00    $0.00
           CITY OF SAN DIEGO BUSINESS                                Check all that apply.
           TAX PROGRAM                                               # Contingent
           PO BOX 121536                                             # Unliquidated
           San Diego, CA 92112-1536                                  # Disputed
           Date or dates debt was incurred                           Basis for the claim:
           Various                                                   Business Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     # Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                         $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operati                            # Contingent
           PO Box 7346                                               # Unliquidated
           Philadelphia, PA 19101-7346                               # Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For notice purposes only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     # Yes

 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $183.61    $0.00
           STATE OF WASHINGTON                                       Check all that apply.
           DEPARTMENT OF REVENUE                                     # Contingent
           P O BOX 34051                                             # Unliquidated
           Seattle, WA 98124-1051                                    # Disputed
           Date or dates debt was incurred                           Basis for the claim:
           Various                                                   Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     # Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $9,744.00
           AAMCO Duty Free                                                         # Contingent
           6911 BOTTLEBRUSH LANE                                                   # Unliquidated
           Naples, FL 34109                                                        # Disputed
           Date(s) debt was incurred Various
                                                                                   Basis for the claim:     Goods and Services Provided
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?   " No # Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $475.00
           ADP, LLC                                                                # Contingent
           PO BOX 31001-1874                                                       # Unliquidated
           Pasadena, CA 91110                                                      # Disputed
           Date(s) debt was incurred     Various                                   Basis for the claim:     Payroll Services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?   " No # Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                              Page 25 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,171.95
          ADVANCE BUSINESS CAPITAL                                           # Contingent
          PO BOX 610028                                                      # Unliquidated
          Dallas, TX 75216                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,760.00
          AGAVE LOCO, LLC                                                    # Contingent
          1175 CORPORATE WOODS PKWY, STE 218                                 # Unliquidated
          Vernon Hills, IL 60061                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,640.91
          ALBATRANS, INC.                                                    # Contingent
          149-10 183RD STREET                                                # Unliquidated
          Springfield Gardens, NY 11413-0435                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $278,683.16
          ALEXANDER JAMES & CO.                                              # Contingent
          P. O. BOX 116                                                      # Unliquidated
          Sea Cliff, NY 11579-0116                                           # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,573.55
          ALLEGRINI                                                          # Contingent
          VIA GIARE 9/11                                                     # Unliquidated
          37022 FUMANE VALPOLICELLA                                          # Disputed
          VERONA - ITALIA
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $27.50
          AMAZON CAPITAL SERVICES                                            # Contingent
          PO BOX 035184                                                      # Unliquidated
          Seattle, WA 98124-5184                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,348.35
          AMC USA, INC.                                                      # Contingent
          8 WEST 40TH STREET, 10TH FLOOR                                     # Unliquidated
          New York, NY 10018                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 26 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $817.60
          AMERICAN PACKAGING CAPITAL                                         # Contingent
          PO BOX 77077                                                       # Unliquidated
          Minneapolis, MN 55480                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $511.00
          AMERICAN PEST CONTROL                                              # Contingent
          3560 FAIRMOUNT AVE.                                                # Unliquidated
          San Diego, CA 92105                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,774.00
          AMI DUTY FREE, LLC                                                 # Contingent
          1417 6TH STREET                                                    # Unliquidated
          Santa Monica, CA 90401                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,143.85
          ANDERSEN MATERIAL HANDLING                                         # Contingent
          P.O. BOX 1015                                                      # Unliquidated
          Wixom, MI 48393-1015                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,682.08
          ANHEUSER-BUSCH, INC.                                               # Contingent
          15800 ROSCOE BLVD.                                                 # Unliquidated
          Van Nuys, CA 91406-1379                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $980.00
          ANTARES, INC.                                                      # Contingent
          7250 NW 36TH AVENUE                                                # Unliquidated
          Miami, FL 33147                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,793.20
          ARMANINO LLP                                                       # Contingent
          PO BOX 398285                                                      # Unliquidated
          San Francisco, CA 94139                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 27 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,427.36
          AZ SOUTHEAST DISTRIBUTORS                                          # Contingent
          PO BOX LBX 978649                                                  # Unliquidated
          Dallas, TX 75397-8649                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,293,897.62
          BACARDI U.S.A., INC.                                               # Contingent
          2701 LE JEUNE ROAD                                                 # Unliquidated
          Miami, FL 33134                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,786.90
          BANFI PRODUCTS CORP.                                               # Contingent
          1111 CEDAR SWAMP ROAD                                              # Unliquidated
          Glen Head, NY 11545                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,772.00
          BARNARD GRIFFIN WINERY                                             # Contingent
          878 TULIP LANE                                                     # Unliquidated
          Richland, WA 99352                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,007.32
          BAY AREA BEVERAGE COMPANY                                          # Contingent
          700 NATIONAL COURT                                                 # Unliquidated
          Richmond, CA 94804                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.20
          BAY AREA DISTRIBUTING CO.                                          # Contingent
          1061 FACTORY STREET                                                # Unliquidated
          Richmond, CA 94804                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          BERG & STEPHENS                                                    # Contingent
          P.O. BOX 507                                                       # Unliquidated
          Closter, NJ 07624                                                  # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 28 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $117.84
          BETTER OFFICE SUPPLY INC.                                          # Contingent
          750 DESIGN COURT                                                   # Unliquidated
          Chula Vista, CA 91911                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $774.12
          BODEGA OTAZU S.A.U.                                                # Contingent
          SENORIO DE OTAZU, S/N                                              # Unliquidated
          31174 OTAZU (NAVARRA)                                              # Disputed
          SPAIN,
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $165,480.06
          BODEGAS Y VINEDOS DE AGUIRRE                                       # Contingent
          S. A. Ave Kennedy #5454 of 601                                     # Unliquidated
          VITACURA, SANTIAGO                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,450.16
          BOTTEGA S.P.A.                                                     # Contingent
          VICOLO ALDO BOTTEGA 2                                              # Unliquidated
          31010 BIBANO DI GODEGA                                             # Disputed
          DI SANT'URBANO (TV)
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   # No    " Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,729.00
          BRETT ALAN ROBERTS                                                 # Contingent
          200 HALL DRIVE                                                     # Unliquidated
          Orinda, CA 94563                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,656.76
          BRIGGS EQUIPMENT                                                   # Contingent
          LOCK BOX 841272                                                    # Unliquidated
          Dallas, TX 75284-1272                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $915,593.00
          BROWN-FORMAN WINES INT'L                                           # Contingent
          P.O. BOX 1080                                                      # Unliquidated
          Louisville, KY 40201                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 29 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,410.00
          CALIFORNIA LOTTERY                                                 # Contingent
          5656 RUFFIN ROAD                                                   # Unliquidated
          San Diego, CA 92123                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,141.30
          CALIFORNIA PALLETS INC.                                            # Contingent
          263 SILTSTONE AVENUE                                               # Unliquidated
          Lathrop, CA 95330                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $104,384.82
          CAMPARI AMERICA LLC                                                # Contingent
          1114 AVENUE OF AMERICAS, 19TH FLOOR                                # Unliquidated
          New York, NY 10036                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,029.42
          CANTINA PUIANELLO                                                  # Contingent
          VIA CARLO MARX 19/A                                                # Unliquidated
          42020 PUIANELLO DI QUAITRO CASTELLA                                # Disputed
          REGGIO EMILIA - ITALY
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,347.75
          CARIBBEAN DISTILLERS, LLC                                          # Contingent
          P.O. BOX 1447                                                      # Unliquidated
          Lake Alfred, FL 33850                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $132,776.79
          CASA VINICOLA ZONIN SPA                                            # Contingent
          VIA BORGOLECCO 9                                                   # Unliquidated
          36053 GAMBELLARA (VI)                                              # Disputed
          ITALIA
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $223,543.00
          CASTLE ROCK WINERY                                                 # Contingent
          75 MALAGA COVE PLAZA #7                                            # Unliquidated
          PALOS VERDES ESTATES                                               # Disputed
          Palos Verdes Peninsula, CA 90274
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 30 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,027.28
          CG ROXANE LLC                                                      # Contingent
          DEPT CH 16405                                                      # Unliquidated
          Palatine, IL 60055-6405                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,660.00
          CHAMBERS & CHAMBERS WINE                                           # Contingent
          MERCHANTS                                                          # Unliquidated
          2140 PALOU AVENUE                                                  # Disputed
          San Francisco, CA 94124
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,771.35
          CHAMPAGNE LAURENT-PERRIER                                          # Contingent
          32 AVENUE DE CHAMPAGNE                                             # Unliquidated
          51150 TOURS-SUR-MARNE                                              # Disputed
          FRANCE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $286,155.52
          CHASE INTERNATIONAL, INC.                                          # Contingent
          67 HAMPTON MEADOWS                                                 # Unliquidated
          Hampton, NH 03842                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,510.00
          CHATEAU MONTELENA WINERY                                           # Contingent
          1429 TUBBS LANE                                                    # Unliquidated
          Calistoga, CA 94515                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,024.76
          CINTAS CORP. #054                                                  # Contingent
          P.O. BOX 29059                                                     # Unliquidated
          Phoenix, AZ 85038-9059                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,315.35
          CINTAS CORPORATION #49K                                            # Contingent
          P.O. BOX 630921                                                    # Unliquidated
          Cincinnati, OH 45263-0921                                          # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 31 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $950.00
          CIRCLE LOGISTICS INC.                                              # Contingent
          P.O. BOX 8067                                                      # Unliquidated
          Fort Wayne, IN 46898-8067                                          # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $292.02
          CIRRO ENERGY                                                       # Contingent
          P.O. BOX 660004                                                    # Unliquidated
          Dallas, TX 75266-0004                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,260.00
          CLINE CELLARS                                                      # Contingent
          P.O. BOX 49235                                                     # Unliquidated
          San Jose, CA 95161-9235                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $102,490.82
          COCA-COLA BEVERAGES FL                                             # Contingent
          PO BOX 740909                                                      # Unliquidated
          Atlanta, GA 30374-0909                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,167.84
          COCA-COLA REFRESHMENTS                                             # Contingent
          SAN LEANDRO SALES CENTER                                           # Unliquidated
          P.O. BOX 740214                                                    # Disputed
          Los Angeles, CA 90074-0214
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,880.00
          COCO LOPEZ, INC.                                                   # Contingent
          3401 SW 160th Ave, Suite 350                                       # Unliquidated
          Hollywood, FL 33027                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $318.75
          COGENT SOLUTIONS & SUPPLIES                                        # Contingent
          3200 REGATTA BOULEVARD, SUITE F                                    # Unliquidated
          Richmond, CA 94804                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 32 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $326,106.68
          COLGATE-PALMOLIVE COMPANY                                          # Contingent
          2092 COLLECTIONS CENTER                                            # Unliquidated
          Chicago, IL 60693                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,735.00
          COLGIN CELLARS                                                     # Contingent
          PO BOX 254                                                         # Unliquidated
          Saint Helena, CA 94574                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $72,632.00
          CONSTELLATION BRANDS,INC.                                          # Contingent
          235 N BLOOMFIELD ROAD                                              # Unliquidated
          Canandaigua, NY 14424                                              # Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,700.00
          COSTA DE ORO WINERY                                                # Contingent
          P.O. BOX 1023                                                      # Unliquidated
          Santa Maria, CA 93456                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $656.55
          COTTER CHURCH SUPPLIES                                             # Contingent
          369 GRAND AVENUE                                                   # Unliquidated
          South San Francisco, CA 94080                                      # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,950.75
          COTY SARL                                                          # Contingent
          PO BOX 29080                                                       # Unliquidated
          New York, NY 10087-9080                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,504.00
          COYOTE LOGISTICS LLC                                               # Contingent
          PO BOX 742636                                                      # Unliquidated
          Atlanta, GA 30374                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 33 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,421.75
          CPL BUSINESS                                                       # Contingent
          P.O. BOX 660749                                                    # Unliquidated
          Dallas, TX 75266                                                   # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,185.59
          CRANE WORLDWIDE LOGISTICS                                          # Contingent
          P.O. BOX 844174                                                    # Unliquidated
          Dallas, TX 75284-4174                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,976.00
          CRIMSON WINE GROUP                                                 # Contingent
          2700 NAPA VALLEY CORP DR, SUITE B                                  # Unliquidated
          Napa, CA 94558                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,777.30
          DAVE STREIFFER CO. INC.                                            # Contingent
          5610 ARMOUR DRIVE                                                  # Unliquidated
          Houston, TX 77020                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,441,350.16
          DIAGEO BRANDS BV                                                   # Contingent
          P.O. BOX 58182                                                     # Unliquidated
          AMSTERDAM, 1040 HD                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $122,829.60
          DIAGEO GLOBAL SUPPLY                                               # Contingent
          ST JAMES GATE BREWERY                                              # Unliquidated
          DUBLIN 8                                                           # Disputed
          IRELAND
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,973.40
          DKW INDUSTRIES, INC.                                               # Contingent
          3041 NW 23RD WAY                                                   # Unliquidated
          Fort Lauderdale, FL 33311                                          # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 34 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53,438.36
          DOMAINE SELECT WINE & SPIRITS                                      # Contingent
          105 MADISON AVENUE, 13TH FLOOR                                     # Unliquidated
          New York, NY 10016                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,440.00
          DON SEBASTIANI & SONS                                              # Contingent
          DEPT. LA 24262                                                     # Unliquidated
          Pasadena, CA 91185-4262                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,999.60
          DR PEPPER SNAPPLE GROUP                                            # Contingent
          P O BOX 277237                                                     # Unliquidated
          Atlanta, GA 30384-7237                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $575.00
          DREYFUS ASHBY, INC.                                                # Contingent
          PO BOX 780064                                                      # Unliquidated
          Philadelphia, PA 19178                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $823.54
          DUCLOT EXPORT                                                      # Contingent
          3 PLACE ROHAN                                                      # Unliquidated
          CEDEX                                                              # Disputed
          BORDEAUX, 33000
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred      Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,429.00
          E. & J. GALLO WINERY                                               # Contingent
          600 YOSEMITE BOULEVARD                                             # Unliquidated
          Modesto, CA 95354                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $122.00
          EDCO DISPOSAL CORPORATION                                          # Contingent
          P.O. BOX 6887                                                      # Unliquidated
          Buena Park, CA 90622                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 35 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $267,926.38
          EDRINGTON GROUP USA LLC                                            # Contingent
          PO BOX 842279                                                      # Unliquidated
          Boston, MA 02284-2279                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,685.00
          ELITE FREIGHT MANAGEMENT                                           # Contingent
          PO BOX 953                                                         # Unliquidated
          Plainfield, IL 60544                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $166.30
          ENTERPRISE RENT A CAR                                              # Contingent
          P.O. BOX 749764                                                    # Unliquidated
          Los Angeles, CA 90074-9764                                         # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,202.80
          ESSENCE CORP.                                                      # Contingent
          1221 BRICKELL AVENUE, SUITE 2100                                   # Unliquidated
          Hialeah, FL 33012                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $345,355.06
          EXPORTADORA SUR VALLES                                             # Contingent
          AV. SANTA MARIA NO. 2670                                           # Unliquidated
          OFICINA 107, PROVIDENCIA                                           # Disputed
          SANTIAGO - CHILE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,292.80
          FETZER VINEYARDS                                                   # Contingent
          P.O. BOX 611                                                       # Unliquidated
          Hopland, CA 95449                                                  # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,056.00
          FINCA DECERO                                                       # Contingent
          PERMASUR S.A.                                                      # Unliquidated
          SAN MARTIN 1167 PISO 1                                             # Disputed
          MENDOZA, ARGENTINA
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 13 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 36 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,150.00
          FLANAGAN VINEYARDS                                                 # Contingent
          PO BOX 1230                                                        # Unliquidated
          Windsor, CA 95492                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,125.00
          FOLEY FAMILY WINES, INC.                                           # Contingent
          DEPT. LA 24038                                                     # Unliquidated
          Pasadena, CA 91185-4038                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $777,389.50
          FOLIO WINE COMPANY, LLC                                            # Contingent
          550 GATEWAY DRIVE, SUITE 220                                       # Unliquidated
          Napa, CA 94558                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $74,008.00
          FRANCIS COPPOLA WINERY                                             # Contingent
          28459 NETWORK PLACE                                                # Unliquidated
          Chicago, IL 60673-1284                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,477.95
          FRANK-LIN DISTILLERS PRODUCTS LTD.                                 # Contingent
          2455 HUNTINGTON DR.                                                # Unliquidated
          Fairfield, CA 94533                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $346.52
          FRED MEYER CO                                                      # Contingent
          3800 S.E. 22nd Avenue                                              # Unliquidated
          Portland, OR 97202                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,209.96
          FREDERICK WILDMAN & SONS                                           # Contingent
          307 EAST 53RD STREET                                               # Unliquidated
          New York, NY 10022                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 14 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 37 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $635.07
          FREIGHT QUOTE                                                      # Contingent
          PO BOX 9121                                                        # Unliquidated
          Minneapolis, MN 55480                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,819.99
          FREIXENET, S.A.                                                    # Contingent
          JOAN SALA, 2                                                       # Unliquidated
          8770 SANT SADURNI D'ANOIA                                          # Disputed
          BARCELONA, ESPANA, SPAIN
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,364.00
          FREMONT MISCHIEF DISTILLERY                                        # Contingent
          127 N 35TH STREET                                                  # Unliquidated
          Seattle, WA 98103                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,405.68
          FRITO-LAY INC.                                                     # Contingent
          99 BUKIT TUMAH ROAD                                                # Unliquidated
          #05-01, ALFA CENTRE                                                # Disputed
          SINGAPORE 229835
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,485.00
          FROG'S LEAP                                                        # Contingent
          PO BOX 189                                                         # Unliquidated
          Rutherford, CA 94573                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,442.50
          FULL CONTAINER RECOVERY                                            # Contingent
          5315 4TH EAST                                                      # Unliquidated
          Tacoma, WA 98424                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,416.00
          GEKKEIKAN SAKE (USA), INC                                          # Contingent
          1136 SIBLEY STREET                                                 # Unliquidated
          Folsom, CA 95630                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 38 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,848.00
          GMDF                                                               # Contingent
          2 ROUTE DES PRINCES                                                # Unliquidated
          84190 GIGONDAS                                                     # Disputed
          FRANCE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,968.00
          GRUPO COLOME S.A.                                                  # Contingent
          AV. AVELLANEDA 396                                                 # Unliquidated
          C1405CNQ                                                           # Disputed
          ARGENTINA,
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,888.96
          GSC LOGISTICS INC                                                  # Contingent
          DEPT. LA 24640                                                     # Unliquidated
          Pasadena, CA 91185-4640                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $955.50
          GSC NATIONAL TRANSPORTATION                                        # Contingent
          DEPT LA 24674                                                      # Unliquidated
          Pasadena, CA 91185                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,375.83
          HALFON CANDY COMPANY                                               # Contingent
          9229 10TH AVENUE S.                                                # Unliquidated
          Seattle, WA 98108                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,493.00
          HANDBAG REPUBLIC INC.                                              # Contingent
          18301 ARENTH AVENUE                                                # Unliquidated
          Rowland Heights, CA 91748                                          # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,895.16
          HEAVEN HILL INC.                                                   # Contingent
          P.O. BOX 729                                                       # Unliquidated
          Bardstown, KY 40004                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 16 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 39 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $529,244.02
          HEINEKEN BROUWERIJEN B.V.                                          # Contingent
          STADHOUDERSKADE 79                                                 # Unliquidated
          PO BOX 28, 1000aa                                                  # Disputed
          AMSTERDAM, 1072AE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   # No    " Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,820.40
          HMC ADVERTISING, INC.                                              # Contingent
          453 D STREET, SUITE C                                              # Unliquidated
          Chula Vista, CA 91910                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,914.18
          HORMEL FOODS CORPORATION                                           # Contingent
          PO BOX 100352                                                      # Unliquidated
          Pasadena, CA 91189-0352                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,573.20
          HUNEEUS VINTNERS, LLC                                              # Contingent
          1040 MAIN STREET, SUITE 204                                        # Unliquidated
          Napa, CA 94559                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,260.17
          HYG FINANCIAL SERVICES INC                                         # Contingent
          P.O. BOX 14545                                                     # Unliquidated
          Des Moines, IA 50306                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133,309.20
          IMPERIAL TOBACCO INT. LTD                                          # Contingent
          PO BOX 76                                                          # Unliquidated
          NOTTINGHAM NG7 5PL                                                 # Disputed
          GREAT BRITAIN
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,600.65
          INTERVINE INC.                                                     # Contingent
          851 NAPA VALLEY CORP WAY, SUITE G                                  # Unliquidated
          Napa, CA 94558                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 17 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 40 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,132.88
          ITN WORLDWIDE                                                      # Contingent
          P.O. BOX 931423                                                    # Unliquidated
          Atlanta, GA 31193-1423                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jesus Santacruz                                                    # Contingent
          1323 Olivina Ave                                                   # Unliquidated
          Livermore, CA 94551                                                # Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Workers' compensation applicant
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $271,016.73
          JIM BEAM BRANDS CO.                                                # Contingent
          222 MERCHANDISE MART PLZ                                           # Unliquidated
          Chicago, IL 60654                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $526,734.46
          JOHNSON & JOHNSON CONSUMER INC.                                    # Contingent
          5618 COLLECTIONS CTR DR                                            # Unliquidated
          Chicago, IL 60693                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Johnson & Jonson Consumer Inc.                                     # Contingent
          5618 COLLECTIONS CTR DR                                            # Unliquidated
          Chicago, IL 60693                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,524.00
          JOSEPH DROUHIN                                                     # Contingent
          7 RUE d'ENFER                                                      # Unliquidated
          BP 80029                                                           # Disputed
          21201 BEAUNE CEDEX, FRANCE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,500.00
          JOSEPH PHELPS VINEYARDS                                            # Contingent
          P.O. BOX 1031                                                      # Unliquidated
          Saint Helena, CA 94574                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 18 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 41 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,845.07
          KAISER FOUNDATION HEALTH PLAN                                      # Contingent
          FILE 5915                                                          # Unliquidated
          Los Angeles, CA 90074-5915                                         # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $990.00
          KING ESTATE WINERY, LP                                             # Contingent
          80854 TERRITORIAL HWY                                              # Unliquidated
          Eugene, OR 97405                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,547.50
          KIONA VINEYARDS WINERY                                             # Contingent
          44612 N. SUNSET ROAD                                               # Unliquidated
          Benton City, WA 99320                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,891.00
          KOBRAND CORPORATION                                                # Contingent
          ONE MANHATTANVILLE ROAD                                            # Unliquidated
          Purchase, NY 10577                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,578.41
          LABEL VALUE                                                        # Contingent
          5704 W Sligh Ave                                                   # Unliquidated
          Tampa, FL 33634                                                    # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $153,566.03
          LABOURE-ROI                                                        # Contingent
          RUE LAVOISIER BP 14                                                # Unliquidated
          21700 NUITS ST GEORGES                                             # Disputed
          FRANCE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,587.85
          LEASE ADMINISTRATION CENTER                                        # Contingent
          4680 PARKWAY DR, STE 300                                           # Unliquidated
          Mason, OH 45040                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 19 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 42 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $87,200.00
          LONG SHADOWS VINTNERS LLC                                          # Contingent
          3861 1ST AVENUE SOUTH, SUITE C                                     # Unliquidated
          Seattle, WA 98134                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,096.00
          LUNA VINEYARDS INC                                                 # Contingent
          2921 SILVERADO TRAIL                                               # Unliquidated
          Napa, CA 94558                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,617.71
          MAHLER-BESSE S.A.                                                  # Contingent
          49 RUE CAMILLE GODARD                                              # Unliquidated
          33000 BORDEAUX                                                     # Disputed
          FRANCE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,120.00
          MAISON HEBRARD                                                     # Contingent
          15C BOS PLAN                                                       # Unliquidated
          33750 BEYCHAC ET CAILLAU                                           # Disputed
          FRANCE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,616.00
          MAISONS MARQUES & DOMAINS                                          # Contingent
          383 FOURTH STREET, SUITE 400                                       # Unliquidated
          Oakland, CA 94607                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $174,080.00
          MARCHESI FRESCOBALDI                                               # Contingent
          VIA SANTO SPIRITO 11                                               # Unliquidated
          FIRENZE (FI), 50125                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,022.00
          MARK ANTHONY GROUP INC.                                            # Contingent
          500-887 GREAT NORTHERN WY                                          # Unliquidated
          VANCOUVER, BC V5T 4T5                                              # Disputed
          CANADA
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   # No    " Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 20 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 43 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $416.62
          MASTER MECHANICAL SERVICE                                          # Contingent
          15181 NW 33 PLACE                                                  # Unliquidated
          Opa Locka, FL 33054                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $518.00
          MATAGRANO INC.                                                     # Contingent
          440 FORBES BLVD                                                    # Unliquidated
          South San Francisco, CA 94080                                      # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,898.11
          MATSON LOGISTICS                                                   # Contingent
          P.O. BOX 99074                                                     # Unliquidated
          Chicago, IL 60693                                                  # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $519.67
          MCKINSTRY CO LLC                                                   # Contingent
          PO BOX 3895                                                        # Unliquidated
          Seattle, WA 98124                                                  # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $83,050.00
          MCPHERSON WINES                                                    # Contingent
          6 EXPO COURT                                                       # Unliquidated
          MOUNT WAVERLEY, VICTORIA                                           # Disputed
          AUSTRALIA 3149
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,750.00
          MHW, LTD./HAUS ALPENZ USA                                          # Contingent
          1129 NORTHERN BLVD., SUITE 312                                     # Unliquidated
          Manhasset, NY 11030                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,176.00
          MICHAEL DAVID WINERY                                               # Contingent
          4580 WEST HIGHWAY 12                                               # Unliquidated
          Lodi, CA 95242                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 21 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 44 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $844,740.29
          MICHAEL J DEVINE & ASSOC.                                          # Contingent
          3313 N. SEPULVEDA BLVD.                                            # Unliquidated
          Manhattan Beach, CA 90266                                          # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,000.00
          MICHELLE C. UHLIG STOLDT                                           # Contingent
          OESTERLEYSTRASSE                                                   # Unliquidated
          22587 HAMBURG                                                      # Disputed
          GERMANY
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,866.40
          MILLERCOORS LLC                                                    # Contingent
          BIN #53060                                                         # Unliquidated
          Milwaukee, WI 53208                                                # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,514.74
          MODERN EXPRESS COURIER                                             # Contingent
          P.O. BOX 1199                                                      # Unliquidated
          Oakland, CA 94604                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,523.10
          MONARQ AMERICAS LLC                                                # Contingent
          55 MERRICK WAY, SUITE 202                                          # Unliquidated
          Miami, FL 33134                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,200.00
          MUL'S FAMOUS MIX, INC.                                             # Contingent
          1055 N.W. 7TH STREET                                               # Unliquidated
          Boca Raton, FL 33486                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,361.25
          MUTUAL EXPRESS COMPANY                                             # Contingent
          P.O. BOX 23801                                                     # Unliquidated
          Oakland, CA 94623                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 22 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 45 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,082.67
          NESTLE WATERS NORTH AMERICA INC.                                   # Contingent
          1322 CRESTSIDE DRIVE #100                                          # Unliquidated
          Coppell, TX 75019                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $273.34
          OFFICE DEPOT                                                       # Contingent
          PO BOX 29248                                                       # Unliquidated
          Phoenix, AZ 85038-9248                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $111.92
          OFFICE DEPOT BUSINESS CREDIT                                       # Contingent
          DEPT 56 - 6601292372                                               # Unliquidated
          P.O. BOX 78004                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,593.92
          OPEN WATER                                                         # Contingent
          3520 S MORGAN STREET, SUITE 204                                    # Unliquidated
          Chicago, IL 60609                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,304.00
          ORIGINAL GOURMET FOOD CO.                                          # Contingent
          52 STILES ROAD, SUITE 201                                          # Unliquidated
          Salem, NH 03079                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,740.00
          ORNELLAIA SOCIETA AGRICOL                                          # Contingent
          A S.R.L.                                                           # Unliquidated
          VIA BOLGHERESE                                                     # Disputed
          191 BOLGHERI CASTAGNETO
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,917.53
          OTIS MCALLISTER, INC.                                              # Contingent
          P.O. BOX 8255                                                      # Unliquidated
          Pasadena, CA 91109-8255                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 23 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 46 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,672.50
          PALLET CONSULTANTS CORP.                                           # Contingent
          810 NW 13 AVENUE                                                   # Unliquidated
          Pompano Beach, FL 33069                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46,092.00
          PALM BAY INTERNATIONAL                                             # Contingent
          P.O. BOX 978922                                                    # Unliquidated
          Dallas, TX 75397-8922                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,257.88
          PAPE MATERIAL HANDLING                                             # Contingent
          P.O. BOX 35144 # 5077                                              # Unliquidated
          Seattle, WA 98124-5144                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $66,844.02
          PATERNO IMPORTS, LTD.                                              # Contingent
          2234 Paysphere Circle                                              # Unliquidated
          Chicago, IL 60674                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,982.83
          PENSKE TRUCK LEASING CO.                                           # Contingent
          P.O. BOX 7429                                                      # Unliquidated
          Pasadena, CA 91109-7429                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Equipment Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $828.00
          PEPSI-COLA                                                         # Contingent
          2300 26TH AVENUE S                                                 # Unliquidated
          Seattle, WA 98144                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,510.51
          PERSONNEL ONE                                                      # Contingent
          P.O. BOX 102332                                                    # Unliquidated
          Atlanta, GA 30368-2332                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 24 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 47 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $31.27
          PETROCARD SYSTEMS, INC.                                            # Contingent
          P.O. BOX 34243                                                     # Unliquidated
          Seattle, WA 98124-1243                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.21
          PITCO FOODS                                                        # Contingent
          727 KENNEDY AVENUE                                                 # Unliquidated
          Oakland, CA 94606                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,774.20
          PR AMERICAS TRAVEL RETAIL                                          # Contingent
          PO BOX 405754                                                      # Unliquidated
          Atlanta, GA 30384-5754                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,200.00
          PREMIUM PORT WINES, INC.                                           # Contingent
          DEPT. 33316                                                        # Unliquidated
          P.O. BOX 3900                                                      # Disputed
          San Francisco, CA 94139
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $719.55
          PRODIGY DELIVERY, INC.                                             # Contingent
          701 NW 214TH STREET, UNIT 218                                      # Unliquidated
          Miami, FL 33169                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,858.19
          PRODRIVERS                                                         # Contingent
          P.O. BOX 102409                                                    # Unliquidated
          Atlanta, GA 30368                                                  # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,244.08
          PROXIMO SPIRITS, INC.                                              # Contingent
          333 WASHINGTON STREET, 4TH FLOOR                                   # Unliquidated
          Jersey City, NJ 07302                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 25 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 48 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $288.50
          Quadient Leasing USA, Inc.                                         # Contingent
          DEPT 3682                                                          # Unliquidated
          P.O.BOX 123682                                                     # Disputed
          Carol Stream, IL 60197
                                                                             Basis for the claim:    Postage meter
          Date(s) debt was incurred
          Last 4 digits of account number       6591                         Is the claim subject to offset?   " No # Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,140.00
          R & R SERVICES                                                     # Contingent
          29425 144TH AVENUE S.E.                                            # Unliquidated
          Auburn, WA 98092                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $203.69
          R&S OVERHEAD GARAGE DOOR INC.                                      # Contingent
          1140 MONTAGUE AVE                                                  # Unliquidated
          San Leandro, CA 94577                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,673.49
          RANDSTAD                                                           # Contingent
          P.O. BOX 894217                                                    # Unliquidated
          Los Angeles, CA 90189                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,704.00
          RARE WINE CO.                                                      # Contingent
          280 VALLEY DRIVE                                                   # Unliquidated
          Brisbane, CA 94005                                                 # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,415.33
          READY REFRESH BY NESTLE                                            # Contingent
          P.O. BOX 856680                                                    # Unliquidated
          Louisville, KY 40285-6158                                          # Disputed
          Date(s) debt was incurred Variouis
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $245.30
          REDDY ICE                                                          # Contingent
          PO BOX 730505                                                      # Unliquidated
          Dallas, TX 75373-0505                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 26 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 49 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $180,537.47
          REMY COINTREAU INTERNATIONAL PTE                                   # Contingent
          LTD                                                                # Unliquidated
          152 BEACH ROAD #33-01/04                                           # Disputed
          GATEWAY EAST, SINGAPORE 189
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   # No    " Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,105.50
          REPUBLIC NATIONAL DISTRIBUTING                                     # Contingent
          COMPANY                                                            # Unliquidated
          441 S.W. 12TH AVENUE                                               # Disputed
          Deerfield Beach, FL 33442
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,040.00
          ROYAL WINE COMPANY                                                 # Contingent
          63-65 LE FANTE WAY                                                 # Unliquidated
          P.O. BOX 17                                                        # Disputed
          Bayonne, NJ 07002-0017
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,891.53
          RYDER TRANSPORTATION SERVICE                                       # Contingent
          P.O. BOX 96723                                                     # Unliquidated
          Chicago, IL 60693                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,972.80
          S. MARTINELLI & COMPANY                                            # Contingent
          DEPT 4467                                                          # Unliquidated
          P.O. BOX 44000                                                     # Disputed
          San Francisco, CA 94144
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,900.00
          SAN ANTONIO WINERY INC                                             # Contingent
          737 LAMAR STREET                                                   # Unliquidated
          Los Angeles, CA 90031                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $560,917.30
          SAZERAC COMPANY, INC.                                              # Contingent
          10101 LINN STATION ROAD                                            # Unliquidated
          Louisville, KY 40223                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 27 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 50 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.00
          SERGIO CALLEJAS                                                    # Contingent
          36848 ELM STREET                                                   # Unliquidated
          Newark, CA 94560                                                   # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,196.28
          SEVEN UP BOTTLING CO OF SF                                         # Contingent
          P.O.BOX 742472                                                     # Unliquidated
          LOS ANGELES, CA                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,160.50
          SEVEN-UP SNAPLE SOUTHEAST C/O                                      # Contingent
          AMERICAN                                                           # Unliquidated
          P.O. BOX 402443                                                    # Disputed
          Atlanta, GA 30384-2443
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,368.00
          SEXTANT WINES                                                      # Contingent
          PO BOX 391                                                         # Unliquidated
          Paso Robles, CA 93447                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76,505.00
          SHAW-ROSS INTERNATIONAL I                                          # Contingent
          2900 SW 149TH AVENUE, SUITE 200                                    # Unliquidated
          Hollywood, FL 33027                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,592.00
          SILVERADO VINEYARDS                                                # Contingent
          6121 SILVERADO TRAIL                                               # Unliquidated
          Napa, CA 94558                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,768.00
          SKURNIK WINES                                                      # Contingent
          PO BOX 1315                                                        # Unliquidated
          Syosset, NY 11791                                                  # Disputed
          Date(s) debt was incurred      Various                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 28 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 51 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,136.50
          SMT DUTY FREE, INC.                                                # Contingent
          8935 NW 27TH STREET                                                # Unliquidated
          Miami, FL 33172                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   # No    " Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,942.00
          SOKOL BLOSSER WINERY                                               # Contingent
          P. O. BOX 399                                                      # Unliquidated
          Dundee, OR 97115                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,363.34
          SOUTHERN GLAZER'S OF FL                                            # Contingent
          P.O. BOX 864921                                                    # Unliquidated
          Orlando, FL 32886-4921                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,900.00
          SOUTHERN GLAZER'S WINE TRAVEL                                      # Contingent
          SALES                                                              # Unliquidated
          4222 SOUTH FLORIDA AVE                                             # Disputed
          Lakeland, FL 33813
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,353.14
          STERLING COMPUTER PRODUCTS                                         # Contingent
          16135 COVELLO STREET                                               # Unliquidated
          Van Nuys, CA 91406                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,217.32
          SUN PACKAGING TECHNOLOGIES INC                                     # Contingent
          2200 NW 32nd St.                                                   # Unliquidated
          Suite 1700                                                         # Disputed
          Pompano Beach, FL 33069
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $268.80
          SWANSON VINEYARDS                                                  # Contingent
          1050 OAKVILLE CROSS ROAD                                           # Unliquidated
          P.O. BOX 148                                                       # Disputed
          Oakville, CA 94562
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 29 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 52 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,200.00
          SWIRE COCA-COLA, USA                                               # Contingent
          PO BOX 3743                                                        # Unliquidated
          Seattle, WA 98124-3743                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,560.00
          TAUB FAMILY SELECTIONS                                             # Contingent
          P.O. BOX 733488                                                    # Unliquidated
          Dallas, TX 75373                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,185.00
          THE APOLLO GROUP                                                   # Contingent
          6950 NW 77TH COURT                                                 # Unliquidated
          Miami, FL 33166                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,829.92
          THE BOSTON BEER COMPANY                                            # Contingent
          ONE DESIGN CENTER PLACE, SUITE 850                                 # Unliquidated
          Boston, MA 02210                                                   # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,044.00
          TMT USA INC                                                        # Contingent
          340 N SAM HOUSTON PARKWAY, SUITE 277                               # Unliquidated
          Houston, TX 77060                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105,866.14
          TOP LINE SRL                                                       # Contingent
          VIALE GORIZIA 24/D                                                 # Unliquidated
          00198 ROMA                                                         # Disputed
          ITALY
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred      Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,004.55
          TRANSCOLD DISTRIBUTION USA                                         # Contingent
          6858 SOUTH 190TH STREET                                            # Unliquidated
          Kent, WA 98032                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 30 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 53 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,157.00
          Traveler                                                           # Contingent
          777 Mariners Island Blvd.                                          # Unliquidated
          Suite 250                                                          # Disputed
          San Mateo, CA 94404
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred 5/20/20
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $325,581.36
          TREASURY WINE ESTATES                                              # Contingent
          655 AIRPARK ROAD                                                   # Unliquidated
          Napa, CA 94558                                                     # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $267.50
          TROPICAL HOME & GARDEN PEST                                        # Contingent
          CONTROL                                                            # Unliquidated
          11421 N.W. 27 COURT                                                # Disputed
          Fort Lauderdale, FL 33323
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $529,416.00
          UETA, INC.                                                         # Contingent
          EDIFICIO TORRE GLOBAL BK                                           # Unliquidated
          CALLE 50, PISO NO. 36                                              # Disputed
          PANAMA, REP. PANAMA
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150,000.00
          UHLIG BYPASS TRUST                                                 # Contingent
          6641 SARONI DRIVE                                                  # Unliquidated
          Oakland, CA 94611                                                  # Disputed
          Date(s) debt was incurred 10/25/2019
                                                                             Basis for the claim:    Note Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350,000.00
          UHLIG MARITAL TRUST NON EXEMPT                                     # Contingent
          6641 SARONI DRIVE                                                  # Unliquidated
          Oakland, CA 94611                                                  # Disputed
          Date(s) debt was incurred 10/25/2019
                                                                             Basis for the claim:    Note Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,000.00
          UHLIG SURVIVORS TRUST                                              # Contingent
          6641 SARONI DRIVE                                                  # Unliquidated
          Oakland, CA 94611                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Lease for Real Property
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 31 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 54 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,873,497.58
          UHLIG SURVIVORS TRUST                                              # Contingent
          6641 SARONI DRIVE                                                  # Unliquidated
          Oakland, CA 94611                                                  # Disputed
          Date(s) debt was incurred 9/27/17, 4/23/2019 and
                                                                             Basis for the claim:    3 Notes Payable
          10/17/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,616.35
          ULINE                                                              # Contingent
          PO BOX 88741                                                       # Unliquidated
          Chicago, IL 60680-1741                                             # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $113,323.45
          V.R. CAMELOT, INC.                                                 # Contingent
          2739 SIGNAL PARKWAY                                                # Unliquidated
          Signal Hill, CA 90755                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $316.89
          VALERO FLEET SERVICES                                              # Contingent
          P.O. BOX 300                                                       # Unliquidated
          Amarillo, TX 79105                                                 # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,621.72
          VANDEGRIFT FORWARDING CO.                                          # Contingent
          100 WALNUT AVENUE, SUITE 600                                       # Unliquidated
          Clark, NJ 07066                                                    # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,697.22
          VASCO ROAD LANDFILL                                                # Contingent
          PO BOX 31001-2265                                                  # Unliquidated
          Pasadena, CA 91110-2265                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $750.00
          VECTOR INTERNATIONAL, INC                                          # Contingent
          9475 NICOLA TESLA CT                                               # Unliquidated
          San Diego, CA 92154                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 32 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 55 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,528.00
          VENPORT ENTERPRISES LTD                                            # Contingent
          12608 19A AVENUE                                                   # Unliquidated
          SUREY, BC V4A 9G6                                                  # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,125.00
          VINA CONCHA Y TORO S.A.                                            # Contingent
          AVDA. NUEVA TAJAMAR 481                                            # Unliquidated
          TORRE NORTE, CASILLA 213                                           # Disputed
          SANTIAGO, CHILE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,600.00
          VINA COUSINO MACUL S.A.                                            # Contingent
          AV QUILIN 7100                                                     # Unliquidated
          PENALOLEN                                                          # Disputed
          SANTIAGO, CHILE
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,320.00
          VINEDOS FAMILIA CHADWICK SPA                                       # Contingent
          NUEVA TAJAMAR 481                                                  # Unliquidated
          TORRE SUR, LAS CONDES                                              # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,566.00
          VINEYARD BRANDS / REGIONS BANK                                     # Contingent
          ATTN: LOCKBOX PO BOX 2153                                          # Unliquidated
          DEPARTMENT 4918                                                    # Disputed
          Birmingham, AL 35287-4918
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,400.00
          VINO DEL SOL, INC.                                                 # Contingent
          DEPT. #0512                                                        # Unliquidated
          P.O. BOX 1000                                                      # Disputed
          Memphis, TN 38148-0512
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,900.00
          VINTUS LLC                                                         # Contingent
          CL #5185                                                           # Unliquidated
          P.O.BOX 95000                                                      # Disputed
          Philadelphia, PA 19195-5100
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 33 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 56 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62,160.00
          WAGNER WINE COMPANY, LLC                                           # Contingent
          DEPT LA 24371                                                      # Unliquidated
          Pasadena, CA 91185-4371                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,500.00
          WEITNAUER DUTY FREE, INC.                                          # Contingent
          2315 NW 107 AVENUE                                                 # Unliquidated
          MIAMI FREE ZONE BOX 45                                             # Disputed
          Miami, FL 33172
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,288.00
          WENTE FAMILY ESTATES                                               # Contingent
          5565 TESLA ROAD                                                    # Unliquidated
          Livermore, CA 94550                                                # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,994.44
          WHYTE AND MACKAY LIMITED                                           # Contingent
          310 ST. VINCENT STREET                                             # Unliquidated
          GLASGOW G2 5RG SCOTLAND                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $355,271.05
          WILLIAM GRANT & SONS                                               # Contingent
          BELLSHILL, UNITED KINGDOM                                          # Unliquidated
          ML4 3AN                                                            # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,300.00
          WILLIAMS & HUMBERT S.A.U.                                          # Contingent
          P.K. 641,75 - P.O. BOX 23                                          # Unliquidated
          11408JEREZ DE LA FRONTERA                                          # Disputed
          SPAIN
                                                                             Basis for the claim:    Goods and Services Provided
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?   " No # Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,657.30
          WINE APOTHECARY LLC                                                # Contingent
          PO BOX 621                                                         # Unliquidated
          Los Olivos, CA 93441                                               # Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 34 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 57 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                   Case number (if known)
              Name

 3.227     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,024.00
           WINE HOOLIGANS LLC                                                # Contingent
           201 ALAMEDA DEL PRADO, SUITE 102                                  # Unliquidated
           Novato, CA 94949                                                  # Disputed
           Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.228     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $645.00
           WINEBOW (POMPANO BEACH)                                           # Contingent
           PO BOX 667197                                                     # Unliquidated
           Pompano Beach, FL 33066                                           # Disputed
           Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.229     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $11,400.00
           WINGARA WINE GROUP                                                # Contingent
           1 SANDOWN DRIVE                                                   # Unliquidated
           MILDURA, VICTORIA 3500                                            # Disputed
           AUSTRALIA
                                                                             Basis for the claim:    Goods and Services Provided
           Date(s) debt was incurred Various
           Last 4 digits of account number                                   Is the claim subject to offset?   " No # Yes
 3.230     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $481,642.41
           WORLD EQUITY BRAND BUILD                                          # Contingent
           1399 SW 1ST AVENUE, SUITE 200                                     # Unliquidated
           Miami, FL 33130                                                   # Disputed
           Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.231     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,964.80
           WTC IMPORT EXPORT LLC                                             # Contingent
           5015 GEORGIA AVENUE                                               # Unliquidated
           West Palm Beach, FL 33405                                         # Disputed
           Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.232     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $637.34
           XPO LOGISTICS FREIGHT                                             # Contingent
           29559 NETWORK PLACE                                               # Unliquidated
           Chicago, IL 60673-1559                                            # Disputed
           Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes
 3.233     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $92.21
           YOUNG'S MARKET COMPANY                                            # Contingent
           P.O. BOX 30145                                                    # Unliquidated
           Los Angeles, CA 90030-0145                                        # Disputed
           Date(s) debt was incurred Various
                                                                             Basis for the claim:    Goods and Services Provided
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No # Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 35 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                        Page 58 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                               Case number (if known)
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                 related creditor (if any) listed?                account number, if
                                                                                                                                                  any
 4.1       Cullen D. Speckhart
           COOLEY LLP                                                                            Line      3.177
           1299 Pennsylvania Ave
           NW Ste 700                                                                            #      Not listed. Explain

           Washington, DC 20004

 4.2       Injured Workers Law Los Angeles
           4221 Wilshire Blvd, Suite 420                                                         Line      3.109
           Los Angeles, CA 90010
                                                                                                 #      Not listed. Explain

 4.3       John Casperson
           3101 Western Avenue, Suite 500                                                        Line      3.89
           Seattle, WA 98102-1000
                                                                                                 #      Not listed. Explain

 4.4       Law Offices of Scott Gursky
           333 Bush Street                                                                       Line      3.43
           San Francisco, CA 94104-5821
                                                                                                 #      Not listed. Explain

 4.5       Law Offices of Scott Gursky
           333 Bush Street                                                                       Line      3.44
           San Francisco, CA 94104-5821
                                                                                                 #      Not listed. Explain

 4.6       Lea Pauley Goff
           500 West Jefferson Street, Suite 2000                                                 Line      3.30
           Louisville, KY 40202-2828
                                                                                                 #      Not listed. Explain

 4.7       Meghan Tepas
           Freeborn & Peters                                                                     Line      3.146
           311 South Wacker Drive., Suite 3000
           Chicago, IL 60606                                                                     #      Not listed. Explain


 4.8       Michael Modica
           Altus Receivables Management                                                          Line      3.230
           2400 Veterans Blvd, Suite 300
           Kenner, LA 70062                                                                      #      Not listed. Explain


 4.9       Samuel A. Danon
           Hunton AK                                                                             Line      3.63
           1111 Brickell Ave, Suite 2500
           Miami, FL 33131                                                                       #      Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                   113,149.20
 5b. Total claims from Part 2                                                                        5b.    +     $                21,319,663.78

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                   21,432,812.98




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 36 of 36
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                    Page 59 of
                                                                               132
 Fill in this information to identify the case:

 Debtor name         Fairn & Swanson, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                               # Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
        # No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      " Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.         State what the contract or                  Security system lease
              lease is for and the nature of              for 701 NW 33rd St.,
              the debtor's interest                       Ste. 150, Pompano, FL
                                                          from 3/21/17 - 3/20/20
                  State the term remaining
                                                                                       AT&T Florida/Marlin Business park
              List the contract number of any                                          P.O. Box 13604
                    government contract                                                Philadelphia, PA 19101-3604


 2.2.         State what the contract or                  Master Lease No.
              lease is for and the nature of              8328805 - Equipment
              the debtor's interest                       Schedule No. 017:
                                                          2014 Hyster R30XMS3
                                                          Forklift Serial No.
                                                          H118N03116M
                                                          2014 Hyster R30XMS3
                                                          Forklift Serial No.
                                                          H118N03115M
                                                          2014 Hyster E50XN
                                                          Forklift Serial No.
                                                          A268N13794M
                  State the term remaining
                                                                                       HYG FINANCIAL SERVICES INC
              List the contract number of any                                          P.O. BOX 14545
                    government contract                                                Des Moines, IA 50306


 2.3.         State what the contract or                  Master Lease No.
              lease is for and the nature of              8413086, Equipment
              the debtor's interest                       Schedule No. 016:
                                                          2016 Hyster R30XM3
                                                          Forklift
                                                          2016 Hyster R30XM3
                                                          Forklift
                                                          2016 Hyster R30XM3
                                                          Forklift
                                                          2016 Hyster R30XM3
                                                          Forklift
                  State the term remaining
                                                                                       HYG Financial Services, Inc.
              List the contract number of any                                          PO Box 014545
                    government contract                                                Des Moines, IA 50306-3545
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                        Page 60 of
                                                                               132
 Debtor 1 Fairn & Swanson, Inc.                                                              Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.4.        State what the contract or                   Master Lease No.
             lease is for and the nature of               8413086, Equipment
             the debtor's interest                        Schedule No. ___:
                                                          2016 Hyster R____
                                                          Forklift, Serial No.
                                                          H118N03912R
                                                          2016 Hyster R____
                                                          Forklift, Serial No.
                                                          H118N03925R
                  State the term remaining
                                                                                     HYG Financial Services, Inc.
             List the contract number of any                                         PO Box 014545
                   government contract                                               Des Moines, IA 50306-3545


 2.5.        State what the contract or                   Master Lease No.
             lease is for and the nature of               8413086, Equpment
             the debtor's interest                        Schedule No. 018:
                                                          2016 Hyster E50XN
                                                          Forklift
                  State the term remaining
                                                                                     HYG Financial Services, Inc.
             List the contract number of any                                         PO Box 014545
                   government contract                                               Des Moines, IA 50306-3545


 2.6.        State what the contract or                   Master Lease No.
             lease is for and the nature of               8328806, Equipment
             the debtor's interest                        Schedule 019
                                                          2017 Hyster R30XMS3
                                                          Forklift, Serial No.
                                                          E174N03838R
                  State the term remaining
                                                                                     HYG Financial Services, Inc.
             List the contract number of any                                         PO Box 014545
                   government contract                                               Des Moines, IA 50306-3545




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38              Page 61 of
                                                                               132
 Debtor 1 Fairn & Swanson, Inc.                                                               Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.7.        State what the contract or                   Master Lease No.
             lease is for and the nature of               8413086, Equpment
             the debtor's interest                        Schedule No. 018:
                                                          2016 Hyster E50XN
                                                          forklift Serial No.
                                                          A268N19341P
                                                          2016 Hyster E50XN
                                                          forklift Serial No.
                                                          A268N19333P
                                                          2016 Hyster R30XMS3
                                                          forklift Serial No.
                                                          E174N03732P
                                                          2016 Hyster R30XMS3
                                                          forklift Serial No.
                                                          E174N03725P
                                                          2016 Hyster R30XMS3
                                                          forklift Serial No.
                                                          E174N03727P
                                                          2016 Cascade CARTON
                                                          CLAMP new
                                                          attachments
                  State the term remaining
                                                                                      HYG Financial Services, Inc.
             List the contract number of any                                          PO Box 014545
                   government contract                                                Des Moines, IA 50306-3545


 2.8.        State what the contract or                   Master Lease 8328805,
             lease is for and the nature of               Equipment Schedule
             the debtor's interest                        020:
                                                          2019 Hyster R30XMS3
                                                          forklift, Serial No.
                                                          E174N04409T
                                                          2019 Hyster R30XMS3
                                                          forklift, Serial No.
                                                          E174N04388T
                                                          2019 Hyster R30XMS3
                                                          forklift, Serial No.
                                                          E174N04404T
                                                          2019 Hyster R30XMS3
                                                          forklift, Serial No.
                                                          E174N04405T
                  State the term remaining
                                                                                      HYG Financial Services, Inc.
             List the contract number of any                                          PO Box 014545
                   government contract                                                Des Moines, IA 50306-3545


 2.9.        State what the contract or                   Sch. 19-02:
             lease is for and the nature of               2021 Frieghtliner M2
             the debtor's interest                        106 SACD Dryvan
                                                          Supreme Plate, Serial
                                                          No.
                                                          3ALACWDTXFDGG958
                                                          9                           Penske Truck Leasing Co. L.P.
                  State the term remaining                                            PO Box 7429
                                                                                      Pasadena, CA 91109-7429
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38               Page 62 of
                                                                               132
 Debtor 1 Fairn & Swanson, Inc.                                                              Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.10.       State what the contract or                   Penske, Freightliner
             lease is for and the nature of               M2, Serial No. TBD
             the debtor's interest

                  State the term remaining
                                                                                     Penske Truck Leasing Co. L.P.
             List the contract number of any                                         PO Box 7429
                   government contract                                               Pasadena, CA 91109-7429


 2.11.       State what the contract or                   Lease No. 41109:
             lease is for and the nature of               2014 FRTL M2 106MD
             the debtor's interest                        S/A St TRK, 2000
                                                          Aluminum Van Body,
                                                          Serial No.
                                                          3ALACXDT5EDFL2360
                  State the term remaining
                                                                                     Ryder Truck Rental, Inc.
             List the contract number of any                                         6000 Windward Parkway
                   government contract                                               Alpharetta, GA 30005


 2.12.       State what the contract or                   Lease No. 48109:
             lease is for and the nature of               2019 Int'l 4300 Air
             the debtor's interest                        Conv. S/A (D), 2019
                                                          Morgna GVSD103-26
                                                          Body, Serial No.
                                                          1HTMMMMN7KH547311
                  State the term remaining
                                                                                     Ryder Truck Rental, Inc.
             List the contract number of any                                         6000 Windward Parkway
                   government contract                                               Alpharetta, GA 30005


 2.13.       State what the contract or                   Lease 108174:
             lease is for and the nature of               Hyster Cushion Tire
             the debtor's interest                        Electric Forklift Model
                                                          E40XN, Clas 1, 3-Stage
                                                          Mast
                                                          Hyster R30XM3 - AC
                                                          Electric
                                                          Counterbalanced Order
                                                          Picker forklift
                  State the term remaining
                                                                                     Summit Funding Group, Inc.
             List the contract number of any                                         4680 Parkway Dr., Ste. 300
                   government contract                                               Mason, OH 45040




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 4 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38              Page 63 of
                                                                               132
 Debtor 1 Fairn & Swanson, Inc.                                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.14.       State what the contract or                   Lease No. 11045
             lease is for and the nature of               2019 Hyster R30XM3
             the debtor's interest                        Class II, 3 stage mast
                                                          forklift Serial No.
                                                          H118N04918U
                                                          2019 Hyster R30XM3
                                                          Class II, 3 stage mast
                                                          forklift Serial No.
                                                          H118N04917U
                  State the term remaining
                                                                                       Summit Funding Group, Inc.
             List the contract number of any                                           4680 Parkway Dr., Ste. 300
                   government contract                                                 Mason, OH 45040


 2.15.       State what the contract or                   Lease 108851:
             lease is for and the nature of               Hyster E50XN Forklift
             the debtor's interest                        Class 1 Stage 4

                  State the term remaining
                                                                                       Summit Funding Group, Inc.
             List the contract number of any                                           4680 Parkway Dr., Ste. 300
                   government contract                                                 Mason, OH 45040


 2.16.       State what the contract or                   Lease 11045-003:
             lease is for and the nature of               (2) 2019 Hyster R30XM3
             the debtor's interest                        Class II, 3 stage mast
                                                          forklift
                  State the term remaining
                                                                                       Summit Funding Group, Inc.
             List the contract number of any                                           4680 Parkway Dr., Ste. 300
                   government contract                                                 Monroe, OH 45050


 2.17.       State what the contract or                   Lease Agreement No.:
             lease is for and the nature of               108174
             the debtor's interest                        Hyster Cushion Tire
                                                          Electric Forklift Model
                                                          E40XN
                                                          Hyster R30XM3 - AC
                                                          Electric
                                                          Counterbalanced Order
                                                          Picker forklift
                  State the term remaining
                                                                                       Summit Funding Group, Inc.
             List the contract number of any                                           4680 Parkway Dr., Ste. 300
                   government contract                                                 Mason, OH 45040




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 5 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                Page 64 of
                                                                               132
 Fill in this information to identify the case:

 Debtor name         Fairn & Swanson, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                          # Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 " No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 # Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        #D
                                               Street                                                                          # E/F
                                                                                                                               #G
                                               City                   State      Zip Code


    2.2                                                                                                                        #D
                                               Street                                                                          # E/F
                                                                                                                               #G
                                               City                   State      Zip Code


    2.3                                                                                                                        #D
                                               Street                                                                          # E/F
                                                                                                                               #G
                                               City                   State      Zip Code


    2.4                                                                                                                        #D
                                               Street                                                                          # E/F
                                                                                                                               #G
                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                  Page 65 of
                                                                               132
 Fill in this information to identify the case:

 Debtor name         Fairn & Swanson, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                       # Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

      # None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                   " Operating a business                            $35,735,213.00
       From 1/01/2020 to Filing Date
                                                                                               # Other


       For prior year:                                                                         " Operating a business                           $153,719,957.00
       From 1/01/2019 to 12/31/2019
                                                                                               # Other


       For year before that:                                                                   " Operating a business                           $170,069,660.00
       From 1/01/2018 to 12/31/2018
                                                                                               # Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      " None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      # None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                              Page 66 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                     Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               SEE ATTACHED                                                Various                     $31,184,156.82          " Secured debt
                                                                                                                               # Unsecured loan repayments
                                                                                                                               " Suppliers or vendors
                                                                                                                               " Services
                                                                                                                               # Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      # None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Nicole Uhlig                                                                                $171,170.85         Payroll
               6641 Saroni Dr.
               Oakland, CA 94611
               President

       4.2.    Michelle Stoldt                                                                              $88,000.00         Independent contractor
               6849 Snake Road
               Oakland, CA 94611
               Director

       4.3.    Albert Savedra                                                                               $33,360.00         Accrued vaction
               23 Kinross Dr.
               San Rafael, CA 94901
               CFO

       4.4.    Nicole Uhlig                                                                                     $693.71        Expense report 1/1/20
               6641 Saroni Dr.
               Oakland, CA 94611
               President

       4.5.    Albert Savedra                                                                                     $29.66       Expense report 6/3/19
               23 Kinross Dr.
               San Rafael, CA 94901
               CFO

       4.6.    Albert Savedra                                                                                 $1,152.81        Expense report 7/11/19
               23 Kinross Dr.
               San Rafael, CA 94901
               CFO

       4.7.    Albert Savedra                                                                              $249,809.73         Payroll
               23 Kinross Dr.
               San Rafael, CA 94901
               CFO

       4.8.    Elke Uhlig                                                                                   $90,000.00         Rents
               6849 Snake Rd.
               Oakland, CA 94611
               Shareholder




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                               Page 67 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                       Case number (if known)



       Insider's name and address                                           Dates                   Total amount of value        Reasons for payment or transfer
       Relationship to debtor
       4.9.    Albert Savedra                                                                                $50,000.00          Severance
               23 Kinross Dr.
               San Rafael, CA 94901
               CFO

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      " None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      # None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       Wells Fargo Bank                                                                                                                                           $0.00
                                                                 Last 4 digits of account number:


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      # None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Keith Haynes v. Fairn &                           Wrongful                                                             "   Pending
               Swanson                                           terminatiaon               CA
                                                                                                                                      # On appeal
               Pending
                                                                                                                                      # Concluded

       7.2.    Jazmine Mason, State of                                                      San Diego Superior Court                  "   Pending
               California v. Fairn and                                                      330 W. Broadway                           # On appeal
               Swanson, Inc.                                                                San Diego, CA 92101
                                                                                                                                      # Concluded
               pending

       7.3.    Jesus Santacruz v. Fairn &                        Workers'                   CA Workers' Compensation                  "   Pending
               Swanson Inc and First Liberty                     compensation               Appeals Board                             # On appeal
               Insurance Corp.                                                              1515 Clay St., 6th Floor
                                                                                                                                      # Concluded
               ADJ10795014                                                                  Oakland, CA 94612


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      " None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                 Page 68 of
                                                                               132
 Debtor        Fairn & Swanson, Inc.                                                                        Case number (if known)




      " None
                Recipient's name and address                     Description of the gifts or contributions                  Dates given                       Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      # None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Electrical fire at Baja Duty Free                         $65,279.08                                                 4/1/19                    $82,913.90
       Gateway store

       F&S had VR Camelot trucking pick                          $12,994.94                                                 6/26/19                   $12,994.94
       up a container. Trailer was stolen
       while in VR Camelot's posession.
       VR Camelot's insurer paid F&S.


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      # None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Gordon Rees Scully
                 Mansukhani LLP
                 275 Battery Street
                 20th Floor
                 San Francisco, CA 94111                                                                                       5/13/2020              $50,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      " None.
       Name of trust or device                                       Describe any property transferred                   Dates transfers          Total amount or
                                                                                                                         were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
               Case: 20-40990                   Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                 Page 69 of
                                                                               132
 Debtor      Fairn & Swanson, Inc.                                                                      Case number (if known)



    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      " None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      " Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      "     No. Go to Part 9.
      # Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      "     No.
      # Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      # No. Go to Part 10.
      "     Yes. Does the debtor serve as plan administrator?

                    # No Go to Part 10.
                    " Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Fairn & Swanson, Inc. 401K (k) Plan                                                        EIN:

                    Has the plan been terminated?
                    " No
                    # Yes

                    # No Go to Part 10.
                    " Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Western Conference of Teamsters Pension Plan                                               EIN:

                    Has the plan been terminated?
                    " No
                    # Yes

                    # No Go to Part 10.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                              Page 70 of
                                                                               132
 Debtor      Fairn & Swanson, Inc.                                                                      Case number (if known)



                    " Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    John Hancock SIP 401                                                                       EIN:

                    Has the plan been terminated?
                    " No
                    # Yes

                    # No Go to Part 10.
                    " Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Teamster Managed Trust (medical)                                                           EIN:

                    Has the plan been terminated?
                    " No
                    # Yes

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      " None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was            Last balance
                Address                                          account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      " None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      " None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    # None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                              Page 71 of
                                                                               132
 Debtor      Fairn & Swanson, Inc.                                                                      Case number (if known)



       Owner's name and address                                      Location of the property             Describe the property                           Value
       Holland America Line NV, a Curacao                            HAL FTZ                              12,392 cases of inventory                   $400.00
       Corp.                                                         192nd Street Suite 100               stock
       300 Elliot Avenue West                                        Seattle, WA 98148
       Seattle, WA 98119

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Wrist Ship Supply                                                                                  1 case of inventory stock                   $400.00
       300 Plauche Street
       New Orleans, LA 70123

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Deinhart                                                      400 Lancaster St.                    46 cases of inventory stock               $3,010.00
                                                                     Oakland, CA 94601

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Global                                                        400 Lancaster St.                    29 cases of inventory stock               $2,230.10
                                                                     Oakland, CA 94601

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Seabourn Cruise Line                                          400 Lancaster St.                    35 cases of inventory stock               $1,960.00
       300 Elliott Ave West                                          Oakland, CA 94601
       Seattle, WA 98119

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Holland America Lines                                         701 NW 33rd, Suite 150               21 cases of inventory stock                     $0.00
       450 Third Ave West                                            Pompano Beach, FL
       Seattle, WA 98119                                             33064

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Norweigan Cruise Line                                         701 NW 33rd, Suite 150               119 cases of inventory stock                    $0.00
       PO Box 026065                                                 Pompano Beach, FL
       Miami, FL 33102                                               33064

       Owner's name and address                                      Location of the property             Describe the property                           Value
       New World                                                     701 NW 33rd, Suite 150               445 cases of inventory stock                    $0.00
                                                                     Pompano Beach, FL
                                                                     33064

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Radisson                                                      400 Lancaster St.                    120 cases of inventory stock                    $0.00
                                                                     Oakland, CA 94601

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Holland America Lines                                         400 Lancaster St.                    48 cases of inventory stock                     $0.00
       450 Third Ave West                                            Oakland, CA 94601
       Seattle, WA 98119


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                           Page 72 of
                                                                               132
 Debtor      Fairn & Swanson, Inc.                                                                      Case number (if known)




      "     No.
      # Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      "     No.
      # Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      "     No.
      # Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      " None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         # None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Cecilia (Phuong) Nguyen                                                                                                    Dec. 1997 - present
                    14766 Wiley St.
                    San Leandro, CA 94579
       26a.2.       Angela Nichols                                                                                                             July 2003 - Nov.
                    15830 Via Del Prado                                                                                                        2019
                    San Lorenzo, CA 94580
       26a.3.       Luisa Alacantra                                                                                                            Mar. 2010 - present
                    8231 Tranforan Ct.
                    Newark, CA 94560
       26a.4.       Albert Savedra                                                                                                             July 2018 - present
                    23 Kinross Dr.
                    San Rafael, CA 94901

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

          # None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                                  Page 73 of
                                                                               132
 Debtor      Fairn & Swanson, Inc.                                                                      Case number (if known)



       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Armanio, LLP                                                                                                        General Audit 2008
                    12657 Alcosta Blvd., Ste. 500                                                                                       to 2018
                    San Ramon, CA 94583
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Square Milner CPAs                                                                                                  401K audit 2016 -
                    135 Main St., 9th Fl.                                                                                               2018
                    San Francisco, CA 94105
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.3.       EHI Consulting, Inc.                                                                                                April 2020
                    #0049
                    Lake Oswego, OR 97034
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.4.       Focus Management Group                                                                                              August 2019
                    6585 N. Avondaale Ave.
                    Chicago, IL 60631

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

          # None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Cecilia (Phuong) Nguyen
                    14766 Wiley St.
                    San Leandro, CA 94579
       26c.2.       Albert Savedra
                    23 Kinross Dr.
                    San Rafael, CA 94901

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          # None
       Name and address
       26d.1.  ABD Insurance & Financial Services
                    3 Waters Park Dr., Bldg. 3, Ste. 100
                    San Mateo, CA 94403
       26d.2.       Wells Fargo Capital Finance Business
                    2450 Colorado Ave., Ste. 3000
                    Santa Monica, CA 90404
       26d.3.       Armanino, LLP
                    12657 Alcosta Blvd., Ste. 500
                    San Ramon, CA 94583
       26d.4.       Square Milner CPAs
                    135 Main St. 9th Fl.
                    San Francisco, CA 94105
       26d.5.       EHI Consulting, Inc.
                    #0048
                    Lake Oswego, OR 97034


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                            Page 74 of
                                                                               132
 Debtor      Fairn & Swanson, Inc.                                                                      Case number (if known)



       Name and address
       26d.6.  Focus Management Group
                    6585 N. Avondale Ave.
                    Chicago, IL 60631

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      # No
      "     Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Jeff Alden
       .                                                                                     03/20/2020              Seattle Warehouse

               Name and address of the person who has possession of
               inventory records
               Albert Savedra
               400 Lancaster
               Oakland, CA 94601


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nicole Uhlig                                   6641 Saroni Dr.                                     President, Director
                                                      Oakland, CA 94611

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michelle Stoldt                                6849 Snake Rd.                                      Director
                                                      Oakland, CA 94611

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Albert Savedra                                 23 Kinross Dr.                                      CFO
                                                      San Rafael, CA 94901



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      "     No
      # Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      # No
      "     Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                             Page 75 of
                                                                               132
 Debtor       Fairn & Swanson, Inc.                                                                     Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Nicole Uhlig
       .    6641 Saroni Dr.                                                                                                                Payroll; expense
               Oakland, CA 94611                                 $171,864.56                                                               report 1/7/20

               Relationship to debtor
               President


       30.2 Michelle Stoldt
       .    6849 Snake Rd.
               Oakland, CA 94611                                 $88,000.00                                                                Professional fees

               Relationship to debtor
               Director


       30.3                                                                                                                                Accrued vacation;
       .                                                                                                                                   expense reports
               Albert Savedra                                                                                                              6/3/19 and 7/11/19,
               23 Kinross Dr.                                                                                                              payroll and
               San Rafael, CA 94901                              334,352.20                                                                severance

               Relationship to debtor
               CFO


       30.4 Elke Uhlig
       .    6849 Snake Rd.
               Oakland, CA 94611                                 $90,000.00                                                                rents

               Relationship to debtor
               Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      "     No
      # Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      # No
      "     Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Western Conference of Teamsters Pension Plan                                                               EIN:

    John Hancock SIP 401                                                                                       EIN:

    Teamster Managed Trust (medical)                                                                           EIN:




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 11
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case: 20-40990                    Doc# 1           Filed: 06/02/20 Entered: 06/02/20 16:05:38                            Page 76 of
                                                                               132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 77 of
                                        132
                                                  In re Fairn Swanson, Inc.
                                               Statement of Financial Affairs
                                                         Question 3
                                         Payments Made 90 days before Petition Date

Account   Account Description               Payment Date       Check No.    Payee                         Amount

1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       441        EXPORTADORA SUR VALLES           $102,350.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       442        COLGATE-PALMOLIVE COMPANY         $90,195.90
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       443        WORLD EQUITY BRAND BUILD          $89,100.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       444        JOHNSON & JOHNSON                 $57,003.85
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       445        SAZERAC COMPANY, INC.             $22,405.90
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       446        NESTLE WATERS                     $14,724.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       447        MOET HENNESSY USA, INC.           $11,910.50
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       448        JIM BEAM BRANDS CO.                $8,326.08
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       449        PEPSI-COLA                         $4,298.40
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       450        AMI DUTY FREE, LLC                 $3,773.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       452        VINEDOS FAMILIA CHADWICK          $53,200.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       453        HEINEKEN BROUWERIJEN B.V.         $41,732.70
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       454        ACQUA MINERALE SAN BENEDE         $34,855.52
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       455        VINA CALITERRA S.A.               $21,840.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       456        FINCA DECERO                      $21,056.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       457        TENUTE DI TOSCANA DISTRIB         $19,120.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       458        ANHEUSER-BUSCH, INC.              $18,307.30
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       459        VINA SENA S.A.                    $16,128.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       460        WINGARA WINE GROUP                $11,400.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       461        MICHELLE C. UHLIG STOLDT           $8,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       463        WILLIAM GRANT & SONS               $3,180.87
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020       492        CALVADOS BERNEROY                  $8,352.75
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169190      ALBATRANS, INC.                       $29.12
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169191      AMERICAN PACKAGING CAPITA            $426.44
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169192      BAY AREA DISTRIBUTING CO.            $307.80
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169193      CALIFORNIA PALLETS INC.            $2,141.30
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169195      CHATEAU MONTELENA WINERY          $12,680.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169196      CINTAS CORPORATION #49K              $582.85
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169197      CIRCLE LOGISTICS INC.              $1,900.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169198      CITY OF OAKLAND BUS TAX            $7,630.14
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169199      COCA-COLA BEVERAGES FL            $21,736.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169200      COLUMBIA DISTRIBUTING                $436.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169201      COYOTE LOGISTICS LLC               $2,028.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169203      CRANE WORLDWIDE LOGISTICS          $7,262.09
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169204      DR PEPPER SNAPPLE GROUP            $7,493.19
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169205      EL SUPER LEON PONCHIN                $134.16
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169206      ELITE FREIGHT MANAGEMENT           $8,650.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169207      ERNEST PACKAGING SOLUTION          $1,663.13
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169209      GORDON & REES LLP                  $3,195.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169210      GSC LOGISTICS INC                    $365.08
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169211      HORMEL FOODS CORPORATION          $13,420.32
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169212      HYG FINANCIAL SERVICES IN          $7,888.83
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169213      INTERSTATE CAPITAL CORP.          $20,950.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169214      ITN WORLDWIDE                     $18,421.88
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169215      LEASE ADMINISTRATION CENT            $227.32
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169216      MATSON LOGISTICS                  $15,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169217      MATSON LOGISTICS                   $6,156.25
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169218      MICHAEL J DEVINE & ASSOC.         $86,400.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169219      MUL'S FAMOUS MIX, INC.             $7,150.00
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169220      PALLET CONSULTANTS CORP.           $7,642.50
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169221      PAPE MATERIAL HANDLING             $1,247.14
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169222      PENSKE TRUCK LEASING CO.           $1,724.66
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169223      PREMIER BEVERAGE COMPANY             $226.27
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169224      PREMIUM PORT WINES, INC.          $12,657.50
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169225      PRODIGY DELIVERY, INC.               $959.40
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169226      PRODRIVERS                           $919.08
1101-00   WF 4128215969 - MAIN ACCOUNT            3/5/2020      169227      REPUBLIC NATIONAL                    $559.25



     Case: 20-40990         Doc# 1   Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                Page 1 of 15                                            Page 78 of
                                                   132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169228      SERGIO CALLEJAS                    $1,143.75
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169229      SEVEN UP BOTTLING CO OF S            $612.92
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169230      SEVEN-UP SNAPLE SOUTHEAST          $7,290.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169231      STAPLES                              $176.76
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169232      UNITED DRAYAGE COMPANY               $575.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169233      UPS                                   $16.02
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169234      V.R. CAMELOT, INC.                $47,116.77
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169236      VANDEGRIFT FORWARDING CO.          $6,306.76
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169237      WAGNER WINE COMPANY, LLC          $28,560.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169238      WASTE MANAGEMENT INC.                $749.20
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169239      WEST COAST SHIP SUPPLY             $8,400.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169240      XPO LOGISTICS FREIGHT                $307.45
1101-00   WF 4128215969 - MAIN ACCOUNT          3/5/2020      169241      ZAVALZA TRUCKING INC                 $627.00
1005-00   WF 4129935797 - LAREDO                3/6/2020        1709      LAREDO TRAILER SUPPLY                $102.61
1005-00   WF 4129935797 - LAREDO                3/6/2020        1710      LAREDO TRAILER SUPPLY                 $32.26
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        451       SUPPLEMENTAL INCOME                  $391.49
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        464       CONSTELLATION BRANDS,INC.         $27,568.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        465       CONSTELLATION BRANDS,INC.         $24,864.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        466       NESTLE WATERS                     $15,795.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        467       R J REYNOLDS TOBACCO COM           $6,825.50
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        468       EMPOWER RETIREMENT                 $6,690.98
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        469       PHILIP MORRIS DUTY FREE            $6,071.85
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        470       JIM BEAM BRANDS CO.                $5,162.50
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        471       FREDERICK WILDMAN & SONS           $2,352.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        472       WILLIAM GRANT & SONS              $17,402.50
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        473       REMY COINTREAU                     $8,639.20
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020        474       ODFJELL VINEYARDS S.A.             $6,750.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020      169243      CASTLE ROCK WINERY               $285,154.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020      169244      GOSSNER FOODS, INC.                $8,608.50
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020      169245      HEAVEN HILL INC.                   $7,069.13
1101-00   WF 4128215969 - MAIN ACCOUNT          3/6/2020      169246      BRETT ALAN ROBERTS                 $5,100.00
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20553      BAJA DUTY FREE - BV                  $961.11
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20554      CHULA VISTA ALARM INC.               $200.00
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20555      CITY TREASURER                       $200.00
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20556      OFFICE OF REVENUE & RECOV            $150.00
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20557      OFFICE OF REVENUE & RECOV            $150.00
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20558      EDCO DISPOSAL CORPORATION            $122.00
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20559      SUNSET PRESS, INC.                   $646.50
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20560      AVERY DENNISON                       $176.34
1104-00   WF 4129935805 - BORDER VILLAGE        3/6/2020       20561      BETTER OFFICE SUPPLY INC.             $98.34
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        475       BACARDI U.S.A., INC.             $190,798.32
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        476       JOHNSON & JOHNSON                 $67,799.52
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        477       PHILIP MORRIS DUTY FREE           $62,604.90
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        478       BROWN-FORMAN WINES INT'L          $47,422.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        479       WORLD EQUITY BRAND BUILD          $17,536.50
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        480       PHILIP MORRIS DUTY FREE           $15,839.86
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        481       R J REYNOLDS TOBACCO COM           $7,335.48
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        482       SOUTHERN WINE & SPIRITS            $2,817.50
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020        483       PAY CARGO                             $73.19
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020      169247      TEAMSTERS MANAGED TRUST           $20,136.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020      169248      WESTERN CONF OF TEAMSTERS         $12,167.76
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020      169249      MHW, LTD./HAUS ALPENZ USA          $6,480.00
1101-00   WF 4128215969 - MAIN ACCOUNT          3/9/2020      169250      CITY OF CALEXICO                   $1,113.00
1105-00   WF 4129925913 - CALEXICO              3/9/2020       23811      ALL COUNTY FIRE                       $63.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/10/2020        485       BACARDI U.S.A., INC.             $237,401.76
1101-00   WF 4128215969 - MAIN ACCOUNT         3/10/2020        486       PHILIP MORRIS DUTY FREE           $26,399.77
1101-00   WF 4128215969 - MAIN ACCOUNT         3/10/2020        487       R J REYNOLDS TOBACCO COM           $9,144.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/10/2020        488       HEINEKEN BROUWERIJEN B.V.         $35,553.60
1101-00   WF 4128215969 - MAIN ACCOUNT         3/10/2020        489       MARCHESI FRESCOBALDI               $3,304.00



     Case: 20-40990       Doc# 1       Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                  Page 2 of 15                                        Page 79 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT         3/10/2020      169251      MIZKAN AMERICAS, INC.              $7,690.00
1104-00   WF 4129935805 - BORDER VILLAGE       3/10/2020       20562      LAZ PARKING                          $530.00
1104-00   WF 4129935805 - BORDER VILLAGE       3/10/2020       20563      HARDESTY'S GARAGE                    $680.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/11/2020        490       JOHNSON & JOHNSON                $106,193.95
1101-00   WF 4128215969 - MAIN ACCOUNT         3/11/2020        491       EXPORTADORA SUR VALLES            $24,375.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/11/2020        492       R J REYNOLDS TOBACCO COM          $23,023.98
1101-00   WF 4128215969 - MAIN ACCOUNT         3/11/2020        493       BAY AREA BEVERAGE COMPANY            $500.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/11/2020        494       PAYROLL RESOURCE GROUP, I        $200,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/11/2020        495       WELLS FARGO BANK, NA               $6,432.14
1101-00   WF 4128215969 - MAIN ACCOUNT         3/11/2020      169252      SUN PACKAGING TECHNOLOGIE          $2,490.43
1104-00   WF 4129935805 - BORDER VILLAGE       3/11/2020       20565      UNIVERSAL PLASTIC BAG MFG          $3,612.24
1104-00   WF 4129935805 - BORDER VILLAGE       3/11/2020       20566      CITY TREASURER                       $300.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/12/2020        496       JACKSON FAMILY WINES              $21,294.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/12/2020        497       R J REYNOLDS TOBACCO COM           $6,825.50
1101-00   WF 4128215969 - MAIN ACCOUNT         3/12/2020        498       DIAGEO BRANDS BV                 $360,613.05
1101-00   WF 4128215969 - MAIN ACCOUNT         3/12/2020        499       DIAGEO GLOBAL SUPPLY              $31,550.40
1104-00   WF 4129935805 - BORDER VILLAGE       3/12/2020       20567      JUAN MELCHOR MENDOZA                 $610.60
1105-00   WF 4129925913 - CALEXICO             3/12/2020       23812      SONIA L. MACIAS DE ANAYA             $501.55
1105-00   WF 4129925913 - CALEXICO             3/12/2020       23813      CARLOS CAMACHO LOPEZ                 $150.00
1005-00   WF 4129935797 - LAREDO               3/13/2020        1707      CASA HOGAR ENRIQUE TOMAS             $600.00
1007-00   CHASE 718560381 - EL PASO            3/13/2020        1738      LOS OJOS DE DIOS A.C.INC.          $1,500.00
1100-00   IBC 54305 - EAGLE PASS               3/13/2020        2159      CASA DE NAZARETH                   $1,300.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/13/2020        496       TREASURY WINE ESTATES             $44,460.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/13/2020        497       SOUTHERN WINE & SPIRITS              $571.22
1101-00   WF 4128215969 - MAIN ACCOUNT         3/13/2020      169253      LAMAR WILLIAMS                     $2,537.27
1106-00   WF 4129935813 - SEATTLE              3/13/2020        4444      COSTCO                               $317.16
1104-00   WF 4129935805 - BORDER VILLAGE       3/14/2020       20546      HOSPITAL INFANTIL DE LAS           $8,000.00
1000-00   WF 4128216009 - TROLLEY              3/16/2020        498       NW BEVERAGES LLC                      $32.98
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        499       NW BEVERAGES LLC                      $28.50
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        500       BACARDI U.S.A., INC.             $291,766.88
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        501       BACARDI U.S.A., INC.             $185,960.40
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        502       BACARDI U.S.A., INC.              $55,103.60
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        503       MILLERCOORS LLC                   $16,503.90
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        504       PHILIP MORRIS DUTY FREE           $15,332.89
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        505       BERKSHIRE HATHAWAY                $11,627.25
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        506       PHILIP MORRIS DUTY FREE            $8,315.88
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        507       R J REYNOLDS TOBACCO COM           $5,607.30
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        508       SOUTHERN WINE & SPIRITS              $826.49
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        509       BAY AREA BEVERAGE COMPANY            $721.20
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        510       PAY CARGO                            $146.38
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        511       PAYROLL RESOURCE GROUP, I         $71,798.52
1101-00   WF 4128215969 - MAIN ACCOUNT         3/16/2020        512       CASA HOGAR PARA VARONES            $4,500.00
1007-00   CHASE 718560381 - EL PASO            3/17/2020        1739      HOME DEPOT                           $145.10
1008-00   WF 4444294755 - FLORIDA              3/17/2020       24151      MICHAEL BALDWIN                    $1,429.77
1101-00   WF 4128215969 - MAIN ACCOUNT         3/17/2020        514       PHILIP MORRIS DUTY FREE           $16,482.42
1101-00   WF 4128215969 - MAIN ACCOUNT         3/17/2020        515       PHILIP MORRIS DUTY FREE           $14,643.18
1101-00   WF 4128215969 - MAIN ACCOUNT         3/17/2020        516       R J REYNOLDS TOBACCO COM          $13,827.42
1101-00   WF 4128215969 - MAIN ACCOUNT         3/17/2020        517       R J REYNOLDS TOBACCO COM           $8,382.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/17/2020        518       CHEVRON AND TEXACO                 $1,863.92
1101-00   WF 4128215969 - MAIN ACCOUNT         3/17/2020        519       PAY CARGO                            $156.12
1101-00   WF 4128215969 - MAIN ACCOUNT         3/18/2020        520       BROWN-FORMAN WINES INT'L          $11,050.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/19/2020        521       R J REYNOLDS TOBACCO COM           $6,825.50
1104-00   WF 4129935805 - BORDER VILLAGE       3/19/2020       20568      VICTOR SERRATO                        $65.31
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020        522       ELKE UHLIG                         $9,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020        524       R J REYNOLDS TOBACCO COM           $5,921.46
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020        525       ROGER L CLAIRMONT                  $2,610.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020        526       SUPPLEMENTAL INCOME                  $370.23
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020        527       TEXAS COMPTROLLER                    $189.07
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020        528       MICHELLE C. UHLIG STOLDT           $8,000.00



     Case: 20-40990       Doc# 1       Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                  Page 3 of 15                                        Page 80 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020        529       SAMCO SOFTWARE INC                   $437.91
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169254      ANASTASIA KEHR                       $965.67
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169255      AT&T                                  $97.75
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169256      AT&T TELECONFERENCE SERVI             $87.99
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169257      CG ROXANE LLC                     $41,877.36
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169258      CITY OF SEATTLE                      $728.68
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169259      CT CORPORATION                       $216.05
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169260      DMV RENEWAL                            $8.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169261      EAGLE PASS WATER WORKS               $146.81
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169262      JEFFREY ALDEN                         $53.88
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169263      JOHNSON CONTROLS SECURITY             $53.70
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169264      PG & E                             $2,961.88
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169265      PUGET SOUND ENERGY                 $1,431.34
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169266      QUADIENT LEASING USA, INC            $145.29
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169267      ROSEMARY HILL-JONES                $1,215.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169268      ROXANNE VILCHIS                       $96.15
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169269      SAN DIEGO GAS & ELECTRIC             $507.16
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169270      SECURITAS SECURITY SERVIC          $3,348.38
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169271      SOS SECURITY LLC                   $3,701.76
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169272      SPRINT                               $193.12
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169273      SUSAN MARILYN STRONG               $6,075.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169274      TEXAS GAS SERVICE                    $103.12
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169275      US IMPORT BOND                       $437.50
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169276      VECTOR INTERNATIONAL, INC            $750.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169277      VERITIV OPERATING COMPANY            $235.65
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169278      VERIZON WIRELESS                     $552.96
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169279      WASTE MANAGEMENT INC.              $2,130.69
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169280      WASTE MANAGEMENT INC.                $378.95
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169281      WASTE MGMT OF EL CAJON               $937.42
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169282      WASTE MGMT OF SEATTLE                $414.84
1101-00   WF 4128215969 - MAIN ACCOUNT         3/20/2020      169285      CRANE WORLDWIDE LOGISTICS         $14,909.40
1101-00   WF 4128215969 - MAIN ACCOUNT         3/23/2020        523       EMPOWER RETIREMENT                 $6,974.75
1101-00   WF 4128215969 - MAIN ACCOUNT         3/23/2020        530       AMI DUTY FREE, LLC                $68,400.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/23/2020        531       MILLERCOORS LLC                   $14,741.16
1101-00   WF 4128215969 - MAIN ACCOUNT         3/23/2020        532       R J REYNOLDS TOBACCO COM           $8,254.38
1101-00   WF 4128215969 - MAIN ACCOUNT         3/23/2020        533       PHILIP MORRIS DUTY FREE            $6,494.32
1101-00   WF 4128215969 - MAIN ACCOUNT         3/23/2020        534       R J REYNOLDS TOBACCO COM           $2,985.24
1105-00   WF 4129925913 - CALEXICO             3/23/2020       23815      JOSE OLVERA                          $408.76
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020        535       EMODAL                               $296.20
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020        536       PAY CARGO                            $293.79
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169286      ADAM ALEXANDER HILLESTAD           $1,073.85
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169287      KIMBERLY DAWN BLATTER                $724.39
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169288      JAMES DOMONIC BLATTER              $1,126.91
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169290      SAINTANO JOSEPH                    $1,294.48
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169291      RANIKEE TAFARI ROBINSON              $886.78
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169292      WHYATT KING                        $1,772.45
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169293      TYRONE CENTRELL NUNES                $575.96
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169295      ALIA C PHILLIPS                      $622.41
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169296      CYNTHIA DENISE ROUSE               $1,201.40
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169297      JOHNY LOUIS                        $1,184.48
1101-00   WF 4128215969 - MAIN ACCOUNT         3/24/2020      169298      EDUARDO LOPEZ                        $924.27
1104-00   WF 4129935805 - BORDER VILLAGE       3/24/2020       20570      LEILANY ENRIQUEZ                     $185.20
1104-00   WF 4129935805 - BORDER VILLAGE       3/24/2020       20571      HUMBERTO ESQUIVEL                    $158.52
1106-00   WF 4129935813 - SEATTLE              3/24/2020        4445      COSTCO                               $431.76
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020        537       MILLERCOORS LLC                   $12,809.73
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020        538       R J REYNOLDS TOBACCO COM           $3,554.28
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169299      A & S TOTAL CLEANING                 $787.87
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169300      ABD INSURANCE                        $400.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169301      ADT SECURITY SERVICES                 $97.40



     Case: 20-40990       Doc# 1       Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                  Page 4 of 15                                        Page 81 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169302      AT&I SYSTEMS                         $462.08
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169303      AT&T                              $18,989.65
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169304      SUSAN MARILYN STRONG               $6,625.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169305      TEAMSTERS LOCAL 853                  $624.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169306      TEAMSTERS MANAGED TRUST            $3,813.91
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169307      THE CLOROX SALES COMPANY           $9,353.06
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169308      JOSEPH E NELSON                    $4,573.64
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169309      PERLA ESCOBOSA SANDOVAL            $2,290.38
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169310      KATHRYN TRACY CHESHIRE             $1,218.05
1101-00   WF 4128215969 - MAIN ACCOUNT         3/25/2020      169313      EDUARDO LOPEZ                        $103.15
1104-00   WF 4129935805 - BORDER VILLAGE       3/25/2020       20572      IRMA BRAVO                           $190.00
1104-00   WF 4129935805 - BORDER VILLAGE       3/25/2020       20573      BAJA DUTY FREE-OTAY WHSE             $451.91
1005-00   WF 4129935797 - LAREDO               3/26/2020        1711      BRENDA LUCIO                       $1,116.03
1005-00   WF 4129935797 - LAREDO               3/26/2020        1712      MARIEL RODRIGUEZ                     $392.89
1101-00   WF 4128215969 - MAIN ACCOUNT         3/26/2020        539       PAYROLL RESOURCE GROUP, I        $200,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/26/2020        540       ABD INSURANCE                     $63,515.70
1101-00   WF 4128215969 - MAIN ACCOUNT         3/26/2020      169314      ARMANINO LLP                       $8,358.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/26/2020      169315      GORDON & REES LLP                 $12,465.00
1105-00   WF 4129925913 - CALEXICO             3/26/2020       23816      EDER CAPIZ                           $533.57
1105-00   WF 4129925913 - CALEXICO             3/26/2020       23817      HEIDI CABRERA                        $487.73
1005-00   WF 4129935797 - LAREDO               3/27/2020        1713      BAJA DUTY FREE - LR STORE            $198.16
1005-00   WF 4129935797 - LAREDO               3/27/2020        1714      U.S. CUSTOMS                         $229.38
1101-00   WF 4128215969 - MAIN ACCOUNT         3/27/2020        541       JOHNSON & JOHNSON                 $82,024.89
1101-00   WF 4128215969 - MAIN ACCOUNT         3/27/2020        542       COLGATE-PALMOLIVE COMPANY         $49,845.35
1101-00   WF 4128215969 - MAIN ACCOUNT         3/27/2020        543       COLGATE-PALMOLIVE COMPANY         $18,914.68
1101-00   WF 4128215969 - MAIN ACCOUNT         3/27/2020        544       ADP, LLC.                            $186.17
1101-00   WF 4128215969 - MAIN ACCOUNT         3/27/2020      169316      GORDON & REES LLP                    $135.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/27/2020      169317      MICHAEL J DEVINE & ASSOC.         $17,640.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/27/2020      169318      PROFUSION COSMETICS CORP.          $4,210.62
1101-00   WF 4128215969 - MAIN ACCOUNT         3/27/2020      169319      THE CLOROX SALES COMPANY           $9,270.72
1104-00   WF 4129935805 - BORDER VILLAGE       3/27/2020       20574      JULIO A MORFIN                       $317.01
1104-00   WF 4129935805 - BORDER VILLAGE       3/27/2020       20575      MARCO GARCIA                         $289.58
1105-00   WF 4129925913 - CALEXICO             3/27/2020       13037      GERARDO LOPEZ HERRERA                $538.86
1101-00   WF 4128215969 - MAIN ACCOUNT         3/29/2020        552       FOCUS MANAGEMENT GROUP             $3,515.58
1100-00   IBC 54305 - EAGLE PASS               3/30/2020        2161      B&A COMMUNICATIONS                   $325.50
1100-00   IBC 54305 - EAGLE PASS               3/30/2020        2162      VICCO SUPPLY                         $219.66
1101-00   WF 4128215969 - MAIN ACCOUNT         3/30/2020        545       EMPOWER RETIREMENT                $76,739.50
1101-00   WF 4128215969 - MAIN ACCOUNT         3/30/2020        546       PAYROLL RESOURCE GROUP, I         $15,269.66
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169321      MATSON LOGISTICS                  $34,837.34
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169322      ZAVALZA TRUCKING INC               $1,805.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169323      98 NORFOLK, LLC                   $22,545.40
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169325      CG ROXANE LLC                     $67,874.76
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169326      ESTATE OF A. PAGE SLOSS            $5,644.06
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169327      IRMA BARRAGAN                      $1,986.58
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169328      JV RENTAL, LLC                    $50,692.95
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169329      KROEGER FAMILY PROPERTIES          $3,501.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169331      NJ UNITS, LLC                      $2,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169332      PETER P. TARANTINO                $10,863.62
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169333      RICARDO MONTALVO                   $4,600.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169334      ROBERTO DE JESUS GARZA             $2,362.50
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169335      SAN DIEGO PROPERTY MANAGE          $3,750.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169336      SERGIO CALLEJAS                    $3,200.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169337      SSA TERMINALS OAKLAND LLC             $30.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169338      TKG SAN YSIDRO DEVELOPMEN         $30,182.73
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169339      VIOLET FARHAT                        $700.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169340      VIRGINIA G. MONTANO                $4,296.24
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169342      S&R RAZOOKY, LLC                   $4,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT         3/31/2020      169343      MERCHANT PROPERTY MGMT            $11,042.86
1101-00   WF 4128215969 - MAIN ACCOUNT          4/1/2020        547       BERG & STEPHENS                    $3,500.00



     Case: 20-40990       Doc# 1       Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                  Page 5 of 15                                        Page 82 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT          4/1/2020        548       VALERO FLEET SERVICES                $306.29
1101-00   WF 4128215969 - MAIN ACCOUNT          4/1/2020        549       BAY AREA BEVERAGE COMPANY            $252.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/1/2020        550       PAY CARGO                             $73.19
1104-00   WF 4129935805 - BORDER VILLAGE        4/1/2020       20576      ANGEL SAUCEDA                        $115.86
1104-00   WF 4129935805 - BORDER VILLAGE        4/1/2020       20577      JOSE M VAZQUEZ                       $116.21
1005-00   WF 4129935797 - LAREDO                4/2/2020        1715      U.S. CUSTOMS                         $369.81
1005-00   WF 4129935797 - LAREDO                4/2/2020        1716      U.S. CUSTOMS                         $229.38
1005-00   WF 4129935797 - LAREDO                4/2/2020        1717      U.S. CUSTOMS                         $229.38
1104-00   WF 4129935805 - BORDER VILLAGE        4/2/2020       20578      SPEEDPRO IMAGING                     $481.88
1104-00   WF 4129935805 - BORDER VILLAGE        4/2/2020       20579      ASK A DESIGNER                       $600.00
1104-00   WF 4129935805 - BORDER VILLAGE        4/2/2020       20580      DMV RENEWAL                          $350.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020        553       COLGATE-PALMOLIVE COMPANY        $118,384.31
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020        554       JOHNSON & JOHNSON                $100,524.49
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020        555       PROLOGIS MANAGEMENT LLC           $89,823.35
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020        556       EMPOWER RETIREMENT                 $5,258.73
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020        557       SUPPLEMENTAL INCOME                  $316.26
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020        558       SAMCO SOFTWARE INC                 $1,579.50
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169344      ADT SECURITY SERVICES                 $59.97
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169345      AMAZON CAPITAL SERVICES              $157.83
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169346      AT&T                                  $58.85
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169347      BAY ALARM COMPANY                    $675.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169348      BRETT ALAN ROBERTS                   $461.58
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169349      CENTURYLINK                          $547.99
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169350      CIRRO ENERGY                         $435.75
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169351      CITY OF CALEXICO                     $217.80
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169352      CITY OF LAREDO UTILITIES             $144.77
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169353      CPL BUSINESS                       $2,385.97
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169354      EL PASO ELECTRIC                     $510.03
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169355      EL PASO WATER UTILITIES              $111.61
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169356      GARDA CL WEST, INC.                $3,064.92
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169357      HEALTH NET                        $58,158.46
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169358      IMPERIAL IRRIGATION DIST.          $1,017.87
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169359      KAISER FOUNDATION HEALTH           $5,387.70
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169360      LINCOLN NATIONAL LIFE INS         $16,117.81
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169361      MUNDO BUILDING SERVICES              $653.81
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169362      PARATEX                               $58.90
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169363      PG & E                               $424.82
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169364      PROTECTION 1 / ADT                    $14.12
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169365      R&S OVERHEAD GARAGE DOOR              $98.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169366      REPUBLIC SERVICES                  $1,456.35
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169367      SAN DIEGO GAS & ELECTRIC           $1,297.29
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169368      UNIFIED CARRIER REGISTRAT            $199.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169369      VISION SERVICE PLAN                  $371.99
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169370      WASTE MANAGEMENT INC.                $754.39
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169371      WESTERN EXTERMINATOR COMP            $259.50
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169372      PORT OF SEATTLE                    $5,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169373      MASON BONBURG                      $4,682.88
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169374      MATTHEW SANFORD                    $2,270.56
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169375                                             $0.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169376                                             $0.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/3/2020      169377      CRANE WORLDWIDE LOGISTICS         $13,938.60
1101-00   WF 4128215969 - MAIN ACCOUNT          4/6/2020        559       WELLS FARGO BANK, NA              $24,548.22
1101-00   WF 4128215969 - MAIN ACCOUNT          4/6/2020      169378      STEVENSON DUCINVIL                 $1,110.75
1101-00   WF 4128215969 - MAIN ACCOUNT          4/6/2020      169379      ALFREDO TOVAR JR                     $285.95
1101-00   WF 4128215969 - MAIN ACCOUNT          4/6/2020      169391      CRANE WORLDWIDE LOGISTICS         $63,503.58
1101-00   WF 4128215969 - MAIN ACCOUNT          4/6/2020      169392      JOCELYN DIFFICILE                    $302.54
1104-00   WF 4129935805 - BORDER VILLAGE        4/6/2020       20581      IRAN BURGOS                          $121.34
1005-00   WF 4129935797 - LAREDO                4/7/2020        1718      U.S. CUSTOMS                          $84.00
1005-00   WF 4129935797 - LAREDO                4/7/2020        1719      U.S. CUSTOMS                          $79.18



     Case: 20-40990       Doc# 1       Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                  Page 6 of 15                                        Page 83 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1005-00   WF 4129935797 - LAREDO                4/7/2020        1720      U.S. CUSTOMS                         $369.81
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020        561       PHILIP MORRIS DUTY FREE            $6,089.53
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169393      CARLOS GONZALEZ                      $664.55
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169395      DION S SHAW                          $695.71
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169396      JEFFERY JERMAINE YOUNG               $493.84
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169398      CG ROXANE LLC                     $15,312.16
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169399      A-1-A SECURITY                       $300.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169400      ARMANINO LLP                       $4,979.13
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169401      CITY OF CALEXICO                     $107.24
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169402      EAGLE PASS WATER WORKS               $337.22
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169403      FLORIDA POWER & LIGHT CO.          $3,479.64
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169404      GARDA CL WEST, INC.                $6,355.43
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169405      INTERSTATE CAPITAL CORP.          $32,102.20
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169406      ITN WORLDWIDE                        $775.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169407      MATSON LOGISTICS                   $1,660.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169408      MUNDO BUILDING SERVICES            $1,002.04
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169410      PACIFIC VIDEO & SECURITY           $1,906.20
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169411      QUADIENT FINANCE USA, INC             $67.70
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169412      RELIANT                              $296.22
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169413      ROCHESTER ARMORED CAR CO.            $332.03
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169414      S.S. SKIKOS, INC                     $500.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169415      SOS SECURITY LLC                     $920.21
1101-00   WF 4128215969 - MAIN ACCOUNT          4/7/2020      169416      THE LANDSCAPE COMPANY                $651.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/8/2020        562       JOHNSON & JOHNSON                $108,143.30
1101-00   WF 4128215969 - MAIN ACCOUNT          4/8/2020        563       COLGATE-PALMOLIVE COMPANY         $51,526.43
1101-00   WF 4128215969 - MAIN ACCOUNT          4/8/2020        564       VANDEGRIFT FORWARDING CO.         $21,688.56
1101-00   WF 4128215969 - MAIN ACCOUNT          4/8/2020        565       R J REYNOLDS TOBACCO COM           $8,016.36
1101-00   WF 4128215969 - MAIN ACCOUNT          4/8/2020        566       VALERO FLEET SERVICES                $280.85
1101-00   WF 4128215969 - MAIN ACCOUNT          4/8/2020        567       ANHEUSER-BUSCH, INC.               $9,505.06
1104-00   WF 4129935805 - BORDER VILLAGE        4/8/2020       20584      U.S. CUSTOMS AND BORDER              $286.84
1101-00   WF 4128215969 - MAIN ACCOUNT          4/9/2020        567       COLGATE-PALMOLIVE COMPANY         $46,797.14
1101-00   WF 4128215969 - MAIN ACCOUNT          4/9/2020        568       JOHNSON & JOHNSON                $146,587.15
1101-00   WF 4128215969 - MAIN ACCOUNT          4/9/2020      169417      ALBATRANS, INC.                   $17,819.94
1101-00   WF 4128215969 - MAIN ACCOUNT          4/9/2020      169419      COYOTE LOGISTICS LLC              $15,692.50
1101-00   WF 4128215969 - MAIN ACCOUNT          4/9/2020      169420      TEAMSTERS MANAGED TRUST           $20,136.00
1101-00   WF 4128215969 - MAIN ACCOUNT          4/9/2020      169421      WESTERN CONF OF TEAMSTERS         $12,167.76
1104-00   WF 4129935805 - BORDER VILLAGE        4/9/2020       20582      MARIANA CAMPOS                       $763.22
1104-00   WF 4129935805 - BORDER VILLAGE        4/9/2020       20583      GRETCHEN VAZGUEZ                      $59.38
1101-00   WF 4128215969 - MAIN ACCOUNT         4/10/2020        570       DIAGEO BRANDS BV                 $275,040.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/10/2020        571       PAYROLL RESOURCE GROUP, I        $172,218.99
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020        571       WELLS FARGO BANK, NA               $4,957.35
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169422      ACCELERATED BUSINESS                 $117.69
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169423      CG ROXANE LLC                     $10,684.15
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169424      CITY OF SEATTLE                      $690.77
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169425      DEPARTMENT OF ALCOHOLIC              $802.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169426      GILL'S ELECTRIC                      $592.29
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169427      HORMEL FOODS CORPORATION          $34,297.08
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169428      HYG FINANCIAL SERVICES IN          $3,465.63
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169429      KING COUNTY TREASURY                 $220.10
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169430      MARLIN BUSINESS BANK               $2,083.48
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169431      OFFICE DEPOT BUSINESS CRE            $490.35
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169432      PENSKE TRUCK LEASING CO.           $1,564.92
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169433      PG & E                               $440.85
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169434      REPUBLIC SERVICES                    $889.15
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169435      SOS SECURITY LLC                     $923.70
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169436      SPRINT                               $224.87
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169437      SSA TERMINALS OAKLAND LLC             $30.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169438      STAPLES                              $613.13
1101-00   WF 4128215969 - MAIN ACCOUNT         4/13/2020      169439      WASTE MGMT OF EL CAJON               $620.61



     Case: 20-40990       Doc# 1       Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                  Page 7 of 15                                        Page 84 of
                                                     132
                                                  In re Fairn Swanson, Inc.
                                               Statement of Financial Affairs
                                                         Question 3
                                         Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       573        JOHNSON & JOHNSON             $40,774.92
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       574        COLGATE-PALMOLIVE COMPANY      $9,824.95
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       575        IMPERIAL TOBACCO INT. LTD     $24,703.20
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       576        PHILIP MORRIS DUTY FREE        $9,476.21
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       577        PHILIP MORRIS DUTY FREE        $8,553.64
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       578        PHILIP MORRIS DUTY FREE        $8,518.27
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       579        R J REYNOLDS TOBACCO COM       $7,185.78
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       580        R J REYNOLDS TOBACCO COM       $6,096.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       581        EMODAL                           $265.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020       592        TEXAS COMPTROLLER                 $75.36
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020      169440      ALBATRANS, INC.               $21,057.62
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020      169441      ARMANINO LLP                   $3,528.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020      169442      CG ROXANE LLC                  $5,252.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020      169443      PRODIGY DELIVERY, INC.         $2,478.45
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020      169444      SQUAR MILNER LLP               $1,781.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020      169445      SUSAN MARILYN STRONG           $9,800.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/14/2020      169446      WILLOW TECHNOLOGY, INC.        $1,729.25
1005-00   WF 4129935797 - LAREDO                 4/15/2020       1721       SAM'S CLUB                       $156.84
1005-00   WF 4129935797 - LAREDO                 4/15/2020       1722       U.S. CUSTOMS                      $89.60
1005-00   WF 4129935797 - LAREDO                 4/15/2020       1723       U.S. CUSTOMS                      $30.50
1007-00   CHASE 718560381 - EL PASO              4/15/2020       1741       HOME DEPOT                       $131.98
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020       572        CHEVRON AND TEXACO             $2,209.01
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020       582        BERG & STEPHENS               $23,510.23
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020       583        BERKSHIRE HATHAWAY            $15,940.25
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169447      ABD INSURANCE                 $10,534.04
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169448      AT&T                             $116.25
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169449      CG ROXANE LLC                  $4,808.16
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169450      CITY OF SAN DIEGO                $264.77
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169451      EL SUPER LEON PONCHIN             $66.60
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169452      TEAMSTERS LOCAL 853              $572.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169453      TECATE VISTA MWC                 $200.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169454      VANDEGRIFT FORWARDING CO.      $6,230.52
1101-00   WF 4128215969 - MAIN ACCOUNT           4/15/2020      169455      WASTE MANAGEMENT OF ALAME        $749.20
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020       584        PHILIP MORRIS DUTY FREE       $11,035.44
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020       585        R J REYNOLDS TOBACCO COM       $6,825.50
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020       586        SUPPLEMENTAL INCOME              $172.17
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020       587        MICHELLE C. UHLIG STOLDT       $8,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020       588        SAMCO SOFTWARE INC               $254.10
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169456      AT&T TELECONFERENCE SERVI        $239.29
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169457      CG ROXANE LLC                  $9,650.24
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169458      COYOTE LOGISTICS LLC           $1,300.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169459      CRANE WORLDWIDE LOGISTICS      $4,754.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169460      EL PASO DISPOSAL                 $277.98
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169461      EL PASO ELECTRIC                 $524.51
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169462      GARDA CL WEST, INC.            $3,064.92
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169463      MATSON LOGISTICS               $7,055.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169464      PAPE MATERIAL HANDLING         $1,032.95
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169465      PETROCARD SYSTEMS, INC.           $25.61
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169466      PG & E                         $2,562.26
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169467      QUADIENT FINANCE USA, INC        $346.10
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169468      RELIANT                          $227.50
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169469      REPUBLIC SERVICES                $601.29
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169470      S.S. SKIKOS, INC                 $500.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169471      SAN DIEGO GAS & ELECTRIC         $433.34
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169472      VANDEGRIFT FORWARDING CO.      $6,524.00
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169473      WASTE MANAGEMENT INC.          $3,486.12
1101-00   WF 4128215969 - MAIN ACCOUNT           4/16/2020      169474      WESTERN EXTERMINATOR COMP        $259.50
1101-00   WF 4128215969 - MAIN ACCOUNT           4/17/2020       589        R J REYNOLDS TOBACCO COM       $5,338.38
1101-00   WF 4128215969 - MAIN ACCOUNT           4/17/2020       590        ROGER L CLAIRMONT              $1,860.00



     Case: 20-40990      Doc# 1      Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                Page 8 of 15                                        Page 85 of
                                                   132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT         4/17/2020        591       EMPOWER RETIREMENT                 $5,051.85
1101-00   WF 4128215969 - MAIN ACCOUNT         4/17/2020      169475      MATSON LOGISTICS                   $4,476.25
1007-00   CHASE 718560381 - EL PASO            4/20/2020        1742      SPECTRUM TECHNOLOGIES                 $66.75
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020        593       JOHNSON & JOHNSON                 $84,954.60
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020        594       PHILIP MORRIS DUTY FREE            $4,452.69
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169476      BRETT ALAN ROBERTS                 $3,212.51
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169477      COYOTE LOGISTICS LLC               $1,339.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169478      MATSON LOGISTICS                   $3,350.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169479      PETROCARD SYSTEMS, INC.               $44.27
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169480      SAN DIEGO GAS & ELECTRIC           $2,660.09
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169481      SUSAN MARILYN STRONG               $5,500.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169482      UPS                                  $122.05
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169483      US IMPORT BOND                       $282.50
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169484      V.R. CAMELOT, INC.                $17,263.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/20/2020      169485      VANDEGRIFT FORWARDING CO.          $3,537.52
1008-00   WF 4444294755 - FLORIDA              4/21/2020       24152      JEFFERSON PIERRE                     $804.77
1101-00   WF 4128215969 - MAIN ACCOUNT         4/21/2020        595       PHILIP MORRIS DUTY FREE           $15,268.05
1101-00   WF 4128215969 - MAIN ACCOUNT         4/21/2020        596       R J REYNOLDS TOBACCO COM           $7,620.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/21/2020      169486      ALBATRANS, INC.                   $23,682.83
1101-00   WF 4128215969 - MAIN ACCOUNT         4/21/2020      169487      TEXAS GAS SERVICE                     $59.62
1101-00   WF 4128215969 - MAIN ACCOUNT         4/21/2020      169488      WASTE MGMT OF SEATTLE                $205.37
1104-00   WF 4129935805 - BORDER VILLAGE       4/21/2020       20586      COSTCO                               $290.75
1104-00   WF 4129935805 - BORDER VILLAGE       4/21/2020       20587      VOID UNUSED CHECKS                     $0.00
1104-00   WF 4129935805 - BORDER VILLAGE       4/21/2020       20588      LAZ PARKING                          $565.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/22/2020        597       R J REYNOLDS TOBACCO COM          $15,202.14
1104-00   WF 4129935805 - BORDER VILLAGE       4/22/2020       20589      COSTCO                               $399.65
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020        598       JOHNSON & JOHNSON                 $66,773.55
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020        599       R J REYNOLDS TOBACCO COM           $6,825.50
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020        600       R J REYNOLDS TOBACCO COM           $5,523.42
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169489      AT&T                              $18,106.38
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169490      BRETT ALAN ROBERTS                   $709.95
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169491      DEPT. OF MOTOR VEHICLES                $9.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169492      DMV RENEWAL                          $316.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169493      GARDA CL WEST, INC.                   $42.72
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169494      IMPERIAL IRRIGATION DIST.            $959.09
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169495      QUADIENT FINANCE USA, INC             $40.06
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169496      REDDY ICE                            $496.46
1101-00   WF 4128215969 - MAIN ACCOUNT         4/23/2020      169497      TRANSCOLD DISTRIBUTION US            $578.50
1104-00   WF 4129935805 - BORDER VILLAGE       4/23/2020       20590      EAGLE PASS CHAMBER                   $150.00
1104-00   WF 4129935805 - BORDER VILLAGE       4/23/2020       20591      AMERICAN PEST CONTROL                $104.00
1104-00   WF 4129935805 - BORDER VILLAGE       4/23/2020       20592      EDCO DISPOSAL CORPORATION            $122.00
1008-00   WF 4444294755 - FLORIDA              4/24/2020       24153      MICHAEL BALDWIN                      $876.64
1008-00   WF 4444294755 - FLORIDA              4/24/2020       24154      DONALD WELLS                       $1,881.60
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020        602       COLGATE-PALMOLIVE COMPANY        $116,648.81
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020        603       NESTLE WATERS                     $40,312.55
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020        604       PHILIP MORRIS DUTY FREE            $7,286.22
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020        605       ADP, LLC.                            $200.17
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169498      ADVANCE BUSINESS CAPITAL          $18,622.90
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169499      CENTURYLINK                          $546.33
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169502      CRANE WORLDWIDE LOGISTICS         $15,541.35
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169503      EL SUPER LEON PONCHIN                 $26.28
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169504      ELITE FREIGHT MANAGEMENT           $8,225.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169505      MATSON LOGISTICS                  $12,894.53
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169506      MUTUAL EXPRESS COMPANY             $5,243.75
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169507      SOS SECURITY LLC                   $1,854.37
1101-00   WF 4128215969 - MAIN ACCOUNT         4/24/2020      169508      VERIZON WIRELESS                     $765.67
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020        606       COLGATE-PALMOLIVE COMPANY        $168,758.48
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020        607       JOHNSON & JOHNSON                 $72,232.02
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020        608       PHILIP MORRIS DUTY FREE           $10,434.15



     Case: 20-40990       Doc# 1       Filed: 06/02/20      Entered: 06/02/20 16:05:38
                                                  Page 9 of 15                                        Page 86 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020        609       BOARD OF EQUALIZATION              $1,177.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020        610       PAYROLL RESOURCE GROUP, I        $158,321.15
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169509      ADVANCE BUSINESS CAPITAL          $16,680.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169510      BRETT ALAN ROBERTS                $13,072.05
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169511      COYOTE LOGISTICS LLC               $7,864.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169516      CRANE WORLDWIDE LOGISTICS         $27,363.45
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169517      CRUNCH TIME!                       $6,924.14
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169518      ELITE FREIGHT MANAGEMENT          $13,775.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169519      INTERSTATE CAPITAL CORP.          $19,802.10
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169521      MATSON LOGISTICS                  $18,054.64
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169522      MODERN EXPRESS COURIER             $2,257.37
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169523      PROTECTION 1 / ADT                   $128.50
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169524      S.S. SKIKOS, INC                     $550.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169525      SECURITAS SECURITY SERVIC          $2,296.21
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169526      SERGIO CALLEJAS                    $1,507.50
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169527      SSA TERMINALS OAKLAND LLC             $30.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169528      STAPLES                              $399.18
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169529      THE LANDSCAPE COMPANY                $651.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/27/2020      169532      VANDEGRIFT FORWARDING CO.         $15,880.78
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020        611       BERG & STEPHENS                   $21,196.90
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020        612       PAY CARGO                             $75.69
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020        613       ANHEUSER-BUSCH, INC.              $42,991.48
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169533      AT&T                                  $68.10
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169534      BAY ALARM COMPANY                    $825.30
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169535      EL PASO WATER UTILITIES              $106.91
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169536      EL SUPER LEON PONCHIN                 $66.60
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169537      ELITE FREIGHT MANAGEMENT           $8,425.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169538      INTERSTATE CAPITAL CORP.           $6,795.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169540      SAN DIEGO PROPERTY MANAGE         $15,159.60
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169541      THOMPSON, WELCH, SOROKO            $7,730.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/28/2020      169542      PETROCARD SYSTEMS, INC.               $31.27
1104-00   WF 4129935805 - BORDER VILLAGE       4/28/2020       20593      NORMA P GARCIA                     $3,231.61
1104-00   WF 4129935805 - BORDER VILLAGE       4/28/2020       20594      BAJA DUTY FREE-OTAY WHSE             $465.87
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020        614       PHILIP MORRIS DUTY FREE           $20,697.34
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020        615       NESTLE WATERS                     $17,646.20
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020        616       R J REYNOLDS TOBACCO COM           $9,765.96
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020        617       R J REYNOLDS TOBACCO COM           $7,620.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020        618       U.S. SMOKELESS TOBACCO             $1,310.40
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020      169543      ELITE FREIGHT MANAGEMENT           $7,800.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020      169544      FIRST SOURCE, LLC                    $591.12
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020      169545      GORDON & REES LLP                 $14,730.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020      169546      HEALTH NET                        $53,903.57
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020      169547      KAISER FOUNDATION HEALTH           $1,559.17
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020      169548      MARLIN BUSINESS BANK               $2,227.86
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020      169549      V.R. CAMELOT, INC.                $18,816.00
1101-00   WF 4128215969 - MAIN ACCOUNT         4/29/2020      169550      VANDEGRIFT FORWARDING CO.          $3,085.00
1104-00   WF 4129935805 - BORDER VILLAGE       4/29/2020       20595      C & M MOTORS                         $154.15
1101-00   WF 4128215969 - MAIN ACCOUNT         4/30/2020        619       PHILIP MORRIS DUTY FREE            $7,726.38
1101-00   WF 4128215969 - MAIN ACCOUNT         4/30/2020        620       R J REYNOLDS TOBACCO COM           $6,825.50
1101-00   WF 4128215969 - MAIN ACCOUNT         4/30/2020      169551      MARIO MORENO PEREZ                 $1,187.11
1101-00   WF 4128215969 - MAIN ACCOUNT         4/30/2020      169552      ALFREDO TOVAR JR                     $775.41
1101-00   WF 4128215969 - MAIN ACCOUNT         4/30/2020      169553      LORI WINTERS                       $1,703.50
1105-00   WF 4129925913 - CALEXICO             4/30/2020       23819      COSTCO                               $291.93
1105-00   WF 4129925913 - CALEXICO             4/30/2020       23820      STAPLES                               $57.60
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020        622       JOHNSON & JOHNSON                 $25,569.98
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020        623       PHILIP MORRIS DUTY FREE           $13,393.44
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020        624       EMPOWER RETIREMENT                 $5,057.66
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020        625       SUPPLEMENTAL INCOME                   $47.59
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169554      98 NORFOLK, LLC                   $13,545.40



     Case: 20-40990       Doc# 1       Filed: 06/02/20
                                                  Page 10 of Entered:
                                                             15       06/02/20 16:05:38               Page 87 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169555      ESTATE OF A. PAGE SLOSS            $5,644.06
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169556      IRMA BARRAGAN                      $1,986.58
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169557      JV RENTAL, LLC                    $50,692.95
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169558      KROEGER FAMILY PROPERTIES          $3,501.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169559      MERCHANT PROPERTY MGMT            $11,042.86
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169560      NJ UNITS, LLC                      $2,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169561      PETER P. TARANTINO                $10,863.62
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169562      RICARDO MONTALVO                   $4,600.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169563      ROBERTO DE JESUS GARZA             $2,362.50
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169564      S&R RAZOOKY, LLC                   $4,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169565      SAN DIEGO PROPERTY MANAGE         $18,909.60
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169566      TKG SAN YSIDRO DEVELOPMEN         $32,404.13
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169567      VIOLET FARHAT                        $700.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/1/2020      169568      VIRGINIA G. MONTANO                $4,296.24
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        621       PROLOGIS MANAGEMENT LLC           $89,823.35
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        626       JOHNSON & JOHNSON                 $70,184.09
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        627       BERG & STEPHENS                   $13,154.20
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        628       PEPSI-COLA                         $2,646.70
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        629       R J REYNOLDS TOBACCO COM           $1,990.20
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        630       PEPSI-COLA                           $765.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        631       SANTA FE NATURAL TOBACCO             $762.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        632       PEPSI-COLA                           $285.30
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020        633       WELLS FARGO BANK, NA               $3,495.44
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169569      ADT SECURITY SERVICES                $507.06
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169570      CIRRO ENERGY                         $424.95
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169571      CITY OF CALEXICO                     $105.53
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169572      CITY OF LAREDO UTILITIES             $139.95
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169573      CPL BUSINESS                         $146.67
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169574      EBMUD                              $1,580.04
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169575      FLORIDA POWER & LIGHT CO.          $2,760.27
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169576      JOHNSON CONTROLS SECURITY          $1,381.44
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169577      KIS COMPUTER CENTER                $3,515.99
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169578      PUGET SOUND ENERGY                 $1,201.58
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169579      SAN DIEGO GAS & ELECTRIC           $1,297.83
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169580      SWIRE COCA-COLA, USA               $1,064.40
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169581      THE CLOROX SALES COMPANY          $13,397.01
1101-00   WF 4128215969 - MAIN ACCOUNT          5/4/2020      169582      VIKING AUTOMATIC SPRINKLE            $728.86
1104-00   WF 4129935805 - BORDER VILLAGE        5/4/2020       20596      U.S. CUSTOMS AND BORDER                $3.37
1104-00   WF 4129935805 - BORDER VILLAGE        5/4/2020       20597      COUNTY OF SAN DIEGO                  $218.00
1104-00   WF 4129935805 - BORDER VILLAGE        5/4/2020       20598      CITY TREASURER                        $10.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/5/2020        635       JOHNSON & JOHNSON                 $70,183.85
1101-00   WF 4128215969 - MAIN ACCOUNT          5/5/2020      169583      C.A. SHEA & COMPANY, INC.             $80.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/5/2020      169584      EL SUPER LEON PONCHIN                $371.26
1101-00   WF 4128215969 - MAIN ACCOUNT          5/5/2020      169585      US IMPORT BOND                        $62.50
1106-00   WF 4129935813 - SEATTLE               5/5/2020        4446      COSTCO                             $1,664.49
1106-00   WF 4129935813 - SEATTLE               5/5/2020        4447      SMART FOOD SERVICE                    $54.95
1007-00   CHASE 718560381 - EL PASO             5/6/2020        1743      IVAN CASAS                            $80.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020        636       CARISAM-SAMUEL MEISEL INC          $4,116.40
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020        637       R J REYNOLDS TOBACCO COM           $3,732.66
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020        638       PHILIP MORRIS DUTY FREE           $26,215.06
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020        639       R J REYNOLDS TOBACCO COM           $8,310.66
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020        640       R J REYNOLDS TOBACCO COM           $6,858.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020      169586      ALBATRANS, INC.                   $15,647.04
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020      169589      CRANE WORLDWIDE LOGISTICS         $15,809.75
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020      169590      ELITE FREIGHT MANAGEMENT          $11,200.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020      169591      INTERSTATE CAPITAL CORP.          $10,145.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020      169592      U.S. CUSTOMS                         $550.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020      169593      VANDEGRIFT FORWARDING CO.          $1,245.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/6/2020      169594      ZAVALZA TRUCKING INC                 $604.00



     Case: 20-40990       Doc# 1       Filed: 06/02/20
                                                  Page 11 of Entered:
                                                             15       06/02/20 16:05:38               Page 88 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1104-00   WF 4129935805 - BORDER VILLAGE        5/6/2020       20600      HARDESTY'S GARAGE                  $1,725.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/7/2020        634       PIERPASS                              $64.24
1101-00   WF 4128215969 - MAIN ACCOUNT          5/7/2020        638       JOHNSON & JOHNSON                 $33,249.78
1101-00   WF 4128215969 - MAIN ACCOUNT          5/7/2020        639       R J REYNOLDS TOBACCO COM           $6,825.50
1101-00   WF 4128215969 - MAIN ACCOUNT          5/7/2020        641       BORNVIT COMPANY                    $1,605.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/7/2020      169595      TEAMSTERS MANAGED TRUST           $20,136.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/7/2020      169596      WESTERN CONF OF TEAMSTERS          $2,380.95
1104-00   WF 4129935805 - BORDER VILLAGE        5/7/2020       20599      COSTCO                             $1,189.43
1105-00   WF 4129925913 - CALEXICO              5/7/2020       23821      DEL VALLE AIR CONDITIONIN            $720.00
1007-00   CHASE 718560381 - EL PASO             5/8/2020        1744      IVAN CASAS                         $7,500.00
1101-00   WF 4128215969 - MAIN ACCOUNT          5/8/2020        642       PHILIP MORRIS DUTY FREE           $12,803.94
1101-00   WF 4128215969 - MAIN ACCOUNT          5/8/2020        643       R J REYNOLDS TOBACCO COM           $6,525.48
1101-00   WF 4128215969 - MAIN ACCOUNT          5/8/2020        644       PHILIP MORRIS DUTY FREE            $3,660.79
1101-00   WF 4128215969 - MAIN ACCOUNT          5/8/2020        645       IMPERIAL TOBACCO INT. LTD         $51,152.40
1104-00   WF 4129935805 - BORDER VILLAGE        5/8/2020       20601      BRANDON GARCIA                       $288.13
1007-00   CHASE 718560381 - EL PASO            5/11/2020        1745      WALMART                              $171.40
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020        646       PHILIP MORRIS DUTY FREE           $18,259.76
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020        647       HEINEKEN BROUWERIJEN B.V.         $12,006.68
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020        648       WELLS FARGO BANK, NA               $4,860.44
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169597      AT&T                                 $116.25
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169598      CITY OF SAN DIEGO                    $554.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169599      CITY OF SEATTLE                      $484.38
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169600      CVA SECURITY                         $150.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169601      EAGLE PASS WATER WORKS               $141.56
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169602      EL PASO DISPOSAL                     $277.98
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169603      GARDA CL WEST, INC.                $3,064.92
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169604      PACIFIC VIDEO & SECURITY           $1,906.20
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169605      PARATEX                               $58.90
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169606      PG & E                               $325.67
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169607      PUGET SOUND ENERGY                   $707.52
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169608      REPUBLIC SERVICES                    $880.88
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169609      ROCHESTER ARMORED CAR CO.            $330.39
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169610      SAN DIEGO GAS & ELECTRIC           $2,591.06
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169611      SPRINT                               $802.89
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169612      WASTE MANAGEMENT                     $615.91
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169613      WASTE MANAGEMENT INC.              $1,486.73
1101-00   WF 4128215969 - MAIN ACCOUNT         5/11/2020      169614      WASTE MANAGEMENT INC.                $749.20
1101-00   WF 4128215969 - MAIN ACCOUNT         5/12/2020        649       SAMCO SOFTWARE INC                 $3,018.60
1101-00   WF 4128215969 - MAIN ACCOUNT         5/12/2020        650       PAYROLL RESOURCE GROUP, I        $151,782.90
1101-00   WF 4128215969 - MAIN ACCOUNT         5/12/2020      169615      ADVANCE BUSINESS CAPITAL           $5,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/12/2020      169616      ALBATRANS, INC.                    $8,306.42
1101-00   WF 4128215969 - MAIN ACCOUNT         5/12/2020      169617      CRANE WORLDWIDE LOGISTICS          $5,443.30
1101-00   WF 4128215969 - MAIN ACCOUNT         5/12/2020      169618      ZAVALZA TRUCKING INC                 $627.00
1104-00   WF 4129935805 - BORDER VILLAGE       5/12/2020       20602      ULISES GONZALEZ                       $54.51
1104-00   WF 4129935805 - BORDER VILLAGE       5/12/2020       20603      U.S. CUSTOMS AND BORDER              $147.93
1104-00   WF 4129935805 - BORDER VILLAGE       5/12/2020       20604      VOID UNUSED CHECKS                     $0.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020        651       JOHNSON & JOHNSON                $103,731.08
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020        652       PHILIP MORRIS DUTY FREE           $22,589.64
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020        653       R J REYNOLDS TOBACCO COM          $11,707.86
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020        654       R J REYNOLDS TOBACCO COM           $7,620.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020        655       PHILIP MORRIS DUTY FREE            $4,267.98
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020      169619      AT&T                              $11,307.21
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020      169620      AT&T TELECONFERENCE SERVI            $157.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020      169621      SAN DIEGO GAS & ELECTRIC             $472.48
1101-00   WF 4128215969 - MAIN ACCOUNT         5/13/2020      169622      SUSAN MARILYN STRONG               $2,200.00
1005-00   WF 4129935797 - LAREDO               5/14/2020        1724      AUTO ZONE                            $184.14
1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020        656       SUPPLEMENTAL INCOME                   $28.07
1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020        657       COLGATE-PALMOLIVE COMPANY         $73,295.84
1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020        658       JOHNSON & JOHNSON                 $44,627.12



     Case: 20-40990       Doc# 1       Filed: 06/02/20
                                                  Page 12 of Entered:
                                                             15       06/02/20 16:05:38               Page 89 of
                                                     132
                                                In re Fairn Swanson, Inc.
                                             Statement of Financial Affairs
                                                       Question 3
                                       Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020        663       BERG & STEPHENS                    $3,500.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020        664       ROGER L CLAIRMONT                    $930.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020      169623      LINCOLN NATIONAL LIFE INS          $4,389.11
1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020      169624      MOUNTAIN MIST WATER                  $127.29
1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020      169625      PG & E                             $1,622.87
1101-00   WF 4128215969 - MAIN ACCOUNT         5/14/2020      169626      QUADIENT FINANCE USA, INC            $804.96
1104-00   WF 4129935805 - BORDER VILLAGE       5/14/2020       20605      CITY TREASURER                       $400.00
1104-00   WF 4129935805 - BORDER VILLAGE       5/14/2020       20606      BRS MECHANICAL                       $399.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/15/2020        659       R J REYNOLDS TOBACCO COM           $6,825.50
1101-00   WF 4128215969 - MAIN ACCOUNT         5/15/2020        660       R J REYNOLDS TOBACCO COM           $5,132.40
1101-00   WF 4128215969 - MAIN ACCOUNT         5/15/2020        661       BERKSHIRE HATHAWAY                 $5,050.67
1101-00   WF 4128215969 - MAIN ACCOUNT         5/15/2020        662       EMPOWER RETIREMENT                 $4,824.51
1101-00   WF 4128215969 - MAIN ACCOUNT         5/15/2020      169627      DENETTE BELL                       $4,367.90
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020        665       COLGATE-PALMOLIVE COMPANY        $109,619.72
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020        666       JOHNSON & JOHNSON                 $34,161.58
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020        667       PHILIP MORRIS DUTY FREE           $14,018.31
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020        668       SAN DIEGO COUNTY                   $2,786.69
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020        669       CHEVRON AND TEXACO                 $1,176.86
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020        670       BROWARD COUNT TAX COLLECT             $46.85
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020      169637      DEPARTMENT OF ALCOHOLIC              $525.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020      169638      RELIANT                              $307.24
1101-00   WF 4128215969 - MAIN ACCOUNT         5/18/2020      169639      TEAMSTERS LOCAL 853                  $104.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020        671       PHILIP MORRIS DUTY FREE            $8,518.27
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020        672       R J REYNOLDS TOBACCO COM           $7,706.28
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020        673       R J REYNOLDS TOBACCO COM           $6,858.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020        674       BERG & STEPHENS                    $3,500.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020        675       CARISAM-SAMUEL MEISEL INC         $12,250.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020        2923      GORDON & REES LLP                 $50,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020      169641      GORDON & REES LLP                    $823.02
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020      169642      TEXAS GAS SERVICE                     $39.41
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020      169643      VERIZON WIRELESS                     $543.74
1101-00   WF 4128215969 - MAIN ACCOUNT         5/19/2020      169644      WASTE MGMT OF SEATTLE                $211.53
1101-00   WF 4128215969 - MAIN ACCOUNT         5/20/2020      169645      DMV RENEWAL                          $897.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/20/2020      169646      EL PASO ELECTRIC                     $478.62
1101-00   WF 4128215969 - MAIN ACCOUNT         5/20/2020      169647      GARDA CL WEST, INC.                   $85.21
1101-00   WF 4128215969 - MAIN ACCOUNT         5/20/2020      169648      IMPERIAL IRRIGATION DIST.          $1,278.51
1101-00   WF 4128215969 - MAIN ACCOUNT         5/20/2020      169649      ROSEMARY HILL-JONES                $1,395.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/20/2020      169650      SOS SECURITY LLC                     $822.61
1101-00   WF 4128215969 - MAIN ACCOUNT         5/20/2020      169651      SUSAN MARILYN STRONG               $2,200.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/20/2020      169652      THE LANDSCAPE COMPANY                $651.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/21/2020        678       PAYROLL RESOURCE GROUP, I        $307,881.66
1101-00   WF 4128215969 - MAIN ACCOUNT         5/21/2020      169653      CHRISTOPHER CROSBIE                $1,860.64
1101-00   WF 4128215969 - MAIN ACCOUNT         5/22/2020        677       EIPRINTING, INC.                     $196.49
1101-00   WF 4128215969 - MAIN ACCOUNT         5/22/2020        679       ADP, LLC.                            $186.17
1101-00   WF 4128215969 - MAIN ACCOUNT         5/22/2020        680       TEXAS COMPTROLLER                     $32.48
1101-00   WF 4128215969 - MAIN ACCOUNT         5/22/2020        681       PAYROLL RESOURCE GROUP, I        $190,000.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/22/2020        682       HEALTH NET                        $46,177.52
1101-00   WF 4128215969 - MAIN ACCOUNT         5/22/2020      169655      MARLIN BUSINESS BANK                 $144.38
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169657      BRETT ALAN ROBERTS                 $1,961.37
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169658      CIRRO ENERGY                         $292.02
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169659      CITY OF SAN DIEGO                    $398.00
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169660      CPL BUSINESS                       $1,421.75
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169661      FLORIDA POWER & LIGHT CO.          $1,977.50
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169662      JOHNSON CONTROLS SECURITY             $53.70
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169663      KIS COMPUTER CENTER                $3,515.99
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169664      SOS SECURITY LLC                     $669.24
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169665      VISION SERVICE PLAN                  $136.75
1101-00   WF 4128215969 - MAIN ACCOUNT         5/26/2020      169666      WESTERN EXTERMINATOR COMP            $259.50
1101-00   WF 4128215969 - MAIN ACCOUNT         5/27/2020        683       COLGATE-PALMOLIVE COMPANY         $90,752.66



     Case: 20-40990       Doc# 1       Filed: 06/02/20
                                                  Page 13 of Entered:
                                                             15       06/02/20 16:05:38               Page 90 of
                                                     132
                                                  In re Fairn Swanson, Inc.
                                               Statement of Financial Affairs
                                                         Question 3
                                         Payments Made 90 days before Petition Date

1101-00   WF 4128215969 - MAIN ACCOUNT           5/27/2020       684        COLGATE-PALMOLIVE COMPANY         $10,806.88
1101-00   WF 4128215969 - MAIN ACCOUNT           5/27/2020       685        BERG & STEPHENS                    $9,447.14
1101-00   WF 4128215969 - MAIN ACCOUNT           5/27/2020       686        ABD INSURANCE                      $2,200.00
1101-00   WF 4128215969 - MAIN ACCOUNT           5/27/2020       687        PAYROLL RESOURCE GROUP, I          $2,990.77
1101-00   WF 4128215969 - MAIN ACCOUNT           5/27/2020       688        GORDON & REES LLP                    $540.00
1101-00   WF 4128215969 - MAIN ACCOUNT           5/27/2020       689        FRITO-LAY INC.                    $10,210.59
1101-00   WF 4128215969 - MAIN ACCOUNT           5/27/2020      169667      SUSAN MARILYN STRONG               $3,600.00
1101-00   WF 4128215969 - MAIN ACCOUNT           5/28/2020       690        EMPOWER RETIREMENT                $10,156.72
1101-00   WF 4128215969 - MAIN ACCOUNT           5/28/2020       691        SUPPLEMENTAL INCOME                  $416.05
1101-00   WF 4128215969 - MAIN ACCOUNT           5/28/2020       692        SAMCO SOFTWARE INC                   $674.85
1101-00   WF 4128215969 - MAIN ACCOUNT           5/28/2020      169668      BAY ALARM COMPANY                  $1,605.00
1101-00   WF 4128215969 - MAIN ACCOUNT           5/28/2020      169669      KIS COMPUTER CENTER                $3,515.99
1101-00   WF 4128215969 - MAIN ACCOUNT           5/28/2020      169670      TEAMSTERS LOCAL 853                  $104.00
1101-00   WF 4128215969 - MAIN ACCOUNT           5/29/2020       695        ABD INSURANCE                     $78,250.00
1101-00   WF 4128215969 - MAIN ACCOUNT           5/29/2020       696        BERG & STEPHENS                   $18,639.19
1101-00   WF 4128215969 - MAIN ACCOUNT           5/29/2020       697        GORDON & REES LLP                  $9,858.47
1101-00   WF 4128215969 - MAIN ACCOUNT           5/29/2020       698        U.S. CUSTOMS                         $846.00
1101-00   WF 4128215969 - MAIN ACCOUNT           5/29/2020      169671      TEAMSTERS MANAGED TRUST            $3,356.00
1101-00   WF 4128215969 - MAIN ACCOUNT           5/29/2020      169672      SUSAN MARILYN STRONG               $2,700.00
2122-00                                           3/5/2020       N/A        WELLS FARGO BANK, NA               496,184.61
2122-00                                           3/6/2020       N/A        WELLS FARGO BANK, NA                70,268.69
2122-00                                           3/9/2020       N/A        WELLS FARGO BANK, NA             1,129,240.33
2122-00                                          3/10/2020       N/A        WELLS FARGO BANK, NA               702,099.14
2122-00                                          3/11/2020       N/A        WELLS FARGO BANK, NA               299,115.67
2122-00                                          3/12/2020       N/A        WELLS FARGO BANK, NA               763,821.41
2122-00                                          3/13/2020       N/A        WELLS FARGO BANK, NA                 8,864.05
2122-00                                          3/16/2020       N/A        WELLS FARGO BANK, NA               175,000.00
2122-00                                          3/16/2020       N/A        WELLS FARGO BANK, NA               519,986.50
2122-00                                          3/17/2020       N/A        WELLS FARGO BANK, NA               644,482.60
2122-00                                          3/18/2020       N/A        WELLS FARGO BANK, NA               281,565.65
2122-00                                          3/19/2020       N/A        WELLS FARGO BANK, NA               356,514.69
2122-00                                          3/20/2020       N/A        WELLS FARGO BANK, NA                42,019.84
2122-00                                          3/23/2020       N/A        WELLS FARGO BANK, NA               172,101.10
2122-00                                          3/24/2020       N/A        WELLS FARGO BANK, NA               506,291.15
2122-00                                          3/25/2020       N/A        WELLS FARGO BANK, NA                87,952.04
2122-00                                          3/26/2020       N/A        WELLS FARGO BANK, NA               147,059.60
2122-00                                          3/27/2020       N/A        WELLS FARGO BANK, NA                35,357.87
2122-00                                          3/30/2020       N/A        WELLS FARGO BANK, NA               254,192.37
2122-00                                          3/31/2020       N/A        WELLS FARGO BANK, NA               107,460.05
2122-00                                           4/1/2020       N/A        WELLS FARGO BANK, NA                45,336.38
2122-00                                           4/1/2020       N/A        WELLS FARGO BANK, NA                98,538.33
2122-00                                           4/2/2020       N/A        WELLS FARGO BANK, NA                63,702.49
2122-00                                           4/3/2020       N/A        WELLS FARGO BANK, NA                35,821.06
2122-00                                           4/6/2020       N/A        WELLS FARGO BANK, NA               587,321.13
2122-00                                           4/7/2020       N/A        WELLS FARGO BANK, NA               101,801.75
2122-00                                           4/8/2020       N/A        WELLS FARGO BANK, NA               188,766.07
2122-00                                           4/9/2020       N/A        WELLS FARGO BANK, NA                81,635.40
2122-00                                          4/10/2020       N/A        WELLS FARGO BANK, NA               797,422.67
2122-00                                          4/13/2020       N/A        WELLS FARGO BANK, NA               361,307.36
2122-00                                          4/14/2020       N/A        WELLS FARGO BANK, NA                76,347.94
2122-00                                          4/14/2020       N/A        WELLS FARGO BANK, NA               300,000.00
2122-00                                          4/15/2020       N/A        WELLS FARGO BANK, NA                33,096.92
2122-00                                          4/16/2020       N/A        WELLS FARGO BANK, NA               159,932.01
2122-00                                          4/17/2020       N/A        WELLS FARGO BANK, NA                 7,393.94
2122-00                                          4/20/2020       N/A        WELLS FARGO BANK, NA               144,860.19
2122-00                                          4/21/2020       N/A        WELLS FARGO BANK, NA               332,478.02
2122-00                                          4/22/2020       N/A        WELLS FARGO BANK, NA                29,985.85
2122-00                                          4/23/2020       N/A        WELLS FARGO BANK, NA                71,968.65
2122-00                                          4/24/2020       N/A        WELLS FARGO BANK, NA                91,650.36



     Case: 20-40990      Doc# 1      Filed: 06/02/20
                                                Page 14 of Entered:
                                                           15       06/02/20 16:05:38                   Page 91 of
                                                   132
                                        In re Fairn Swanson, Inc.
                                     Statement of Financial Affairs
                                               Question 3
                               Payments Made 90 days before Petition Date

2122-00                                4/27/2020        N/A       WELLS FARGO BANK, NA          2,667,404.58
2122-00                                4/28/2020        N/A       WELLS FARGO BANK, NA            479,498.19
2122-00                                4/29/2020        N/A       WELLS FARGO BANK, NA             63,103.94
2122-00                                4/30/2020        N/A       WELLS FARGO BANK, NA            782,309.47
2122-00                                 5/1/2020        N/A       WELLS FARGO BANK, NA             56,865.53
2122-00                                 5/4/2020        N/A       WELLS FARGO BANK, NA          1,591,861.89
2122-00                                 5/5/2020        N/A       WELLS FARGO BANK, NA            148,816.43
2122-00                                 5/7/2020        N/A       WELLS FARGO BANK, NA            184,030.27
2122-00                                 5/8/2020        N/A       WELLS FARGO BANK, NA            502,277.18
2122-00                                5/11/2020        N/A       WELLS FARGO BANK, NA            943,829.87
2122-00                                5/12/2020        N/A       WELLS FARGO BANK, NA            164,152.29
2122-00                                5/13/2020        N/A       WELLS FARGO BANK, NA            382,283.37
2122-00                                5/14/2020        N/A       WELLS FARGO BANK, NA            152,229.22
2122-00                                5/15/2020        N/A       WELLS FARGO BANK, NA             51,129.87
2122-00                                5/18/2020        N/A       WELLS FARGO BANK, NA            317,445.33
2122-00                                5/19/2020        N/A       WELLS FARGO BANK, NA            305,297.18
2122-00                                5/21/2020        N/A       WELLS FARGO BANK, NA             99,407.30
2122-00                                5/22/2020        N/A       WELLS FARGO BANK, NA             14,108.03
2122-00                                5/26/2020        N/A       WELLS FARGO BANK, NA            246,543.43
2122-00                                5/27/2020        N/A       WELLS FARGO BANK, NA            424,323.12
2122-00                                5/28/2020        N/A       WELLS FARGO BANK, NA            377,982.29
2122-00                                5/29/2020        N/A       WELLS FARGO BANK, NA              3,318.32
2122-00                                 6/1/2020        N/A       WELLS FARGO BANK, NA             78,590.29
2122-00                                 6/1/2020        N/A       WELLS FARGO BANK, NA             89,056.14
2122-00                                 6/1/2020        N/A       WELLS FARGO BANK, NA             38,000.00
                                                                  TOTAL:                    $ 31,184,156.82




     Case: 20-40990   Doc# 1   Filed: 06/02/20
                                          Page 15 of Entered:
                                                     15       06/02/20 16:05:38          Page 92 of
                                             132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 93 of
                                        132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 94 of
                                        132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 95 of
                                        132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 96 of
                                        132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 97 of
                                        132
Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 98 of
                                        132
x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




    AAMCO Duty Free
    6911 BOTTLEBRUSH LANE
    Naples, FL 34109



    ADP, LLC
    PO BOX 31001-1874
    Pasadena, CA 91110



    ADVANCE BUSINESS CAPITAL
    PO BOX 610028
    Dallas, TX 75216



    AGAVE LOCO, LLC
    1175 CORPORATE WOODS PKWY, STE 218
    Vernon Hills, IL 60061



    ALBATRANS, INC.
    149-10 183RD STREET
    Springfield Gardens, NY 11413-0435



    Albert Savedra
    23 Kinross Drive
    San Rafael, CA 94901



    ALEXANDER JAMES & CO.
    P. O. BOX 116
    Sea Cliff, NY 11579-0116



    ALLEGRINI
    VIA GIARE 9/11
    37022 FUMANE VALPOLICELLA
    VERONA - ITALIA




    Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 99 of
                                            132
AMAZON CAPITAL SERVICES
PO BOX 035184
Seattle, WA 98124-5184



AMC USA, INC.
8 WEST 40TH STREET, 10TH FLOOR
New York, NY 10018



AMERICAN PACKAGING CAPITAL
PO BOX 77077
Minneapolis, MN 55480



AMERICAN PEST CONTROL
3560 FAIRMOUNT AVE.
San Diego, CA 92105



AMI DUTY FREE, LLC
1417 6TH STREET
Santa Monica, CA 90401



ANDERSEN MATERIAL HANDLING
P.O. BOX 1015
Wixom, MI 48393-1015



ANHEUSER-BUSCH, INC.
15800 ROSCOE BLVD.
Van Nuys, CA 91406-1379



ANTARES, INC.
7250 NW 36TH AVENUE
Miami, FL 33147




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 100 of
                                        132
ARMANINO LLP
PO BOX 398285
San Francisco, CA 94139



AT&T Florida/Marlin Business park
P.O. Box 13604
Philadelphia, PA 19101-3604



AZ SOUTHEAST DISTRIBUTORS
PO BOX LBX 978649
Dallas, TX 75397-8649



BACARDI U.S.A., INC.
2701 LE JEUNE ROAD
Miami, FL 33134



BANFI PRODUCTS CORP.
1111 CEDAR SWAMP ROAD
Glen Head, NY 11545



BARNARD GRIFFIN WINERY
878 TULIP LANE
Richland, WA 99352



BAY AREA BEVERAGE COMPANY
700 NATIONAL COURT
Richmond, CA 94804



BAY AREA DISTRIBUTING CO.
1061 FACTORY STREET
Richmond, CA 94804




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 101 of
                                        132
BERG & STEPHENS
P.O. BOX 507
Closter, NJ 07624



BETTER OFFICE SUPPLY INC.
750 DESIGN COURT
Chula Vista, CA 91911



BODEGA OTAZU S.A.U.
SENORIO DE OTAZU, S/N
31174 OTAZU (NAVARRA)
SPAIN,



BODEGAS Y VINEDOS DE AGUIRRE
S. A. Ave Kennedy #5454 of 601
VITACURA, SANTIAGO



BOTTEGA S.P.A.
VICOLO ALDO BOTTEGA 2
31010 BIBANO DI GODEGA
DI SANT'URBANO (TV)



BRETT ALAN ROBERTS
200 HALL DRIVE
Orinda, CA 94563



BRIGGS EQUIPMENT
LOCK BOX 841272
Dallas, TX 75284-1272



BROWN-FORMAN WINES INT'L
P.O. BOX 1080
Louisville, KY 40201




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 102 of
                                        132
California Department of Tax and Fee Adm
Account Information Group, MIC: 29
PO Box 942879
Sacramento, CA 94279-0029



CALIFORNIA LOTTERY
5656 RUFFIN ROAD
San Diego, CA 92123



CALIFORNIA PALLETS INC.
263 SILTSTONE AVENUE
Lathrop, CA 95330



CAMPARI AMERICA LLC
1114 AVENUE OF AMERICAS, 19TH FLOOR
New York, NY 10036



CANTINA PUIANELLO
VIA CARLO MARX 19/A
42020 PUIANELLO DI QUAITRO CASTELLA
REGGIO EMILIA - ITALY



CARIBBEAN DISTILLERS, LLC
P.O. BOX 1447
Lake Alfred, FL 33850



CASA VINICOLA ZONIN SPA
VIA BORGOLECCO 9
36053 GAMBELLARA (VI)
ITALIA



CASTLE ROCK WINERY
75 MALAGA COVE PLAZA #7
PALOS VERDES ESTATES
Palos Verdes Peninsula, CA 90274




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 103 of
                                        132
CG ROXANE LLC
DEPT CH 16405
Palatine, IL 60055-6405



CHAMBERS & CHAMBERS WINE MERCHANTS
2140 PALOU AVENUE
San Francisco, CA 94124



CHAMPAGNE LAURENT-PERRIER
32 AVENUE DE CHAMPAGNE
51150 TOURS-SUR-MARNE
FRANCE



CHASE INTERNATIONAL, INC.
67 HAMPTON MEADOWS
Hampton, NH 03842



CHATEAU MONTELENA WINERY
1429 TUBBS LANE
Calistoga, CA 94515



CINTAS CORP. #054
P.O. BOX 29059
Phoenix, AZ 85038-9059



CINTAS CORPORATION #49K
P.O. BOX 630921
Cincinnati, OH 45263-0921



CIRCLE LOGISTICS INC.
P.O. BOX 8067
Fort Wayne, IN 46898-8067




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 104 of
                                        132
CIRRO ENERGY
P.O. BOX 660004
Dallas, TX 75266-0004



CITY OF SAN DIEGO BUSINESS TAX PROGRAM
PO BOX 121536
San Diego, CA 92112-1536



CLINE CELLARS
P.O. BOX 49235
San Jose, CA 95161-9235



COCA-COLA BEVERAGES FL
PO BOX 740909
Atlanta, GA 30374-0909



COCA-COLA REFRESHMENTS
SAN LEANDRO SALES CENTER
P.O. BOX 740214
Los Angeles, CA 90074-0214



COCO LOPEZ, INC.
3401 SW 160th Ave, Suite 350
Hollywood, FL 33027



COGENT SOLUTIONS & SUPPLIES
3200 REGATTA BOULEVARD, SUITE F
Richmond, CA 94804



COLGATE-PALMOLIVE COMPANY
2092 COLLECTIONS CENTER
Chicago, IL 60693




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 105 of
                                        132
COLGIN CELLARS
PO BOX 254
Saint Helena, CA 94574



CONSTELLATION BRANDS,INC.
235 N BLOOMFIELD ROAD
Canandaigua, NY 14424



COSTA DE ORO WINERY
P.O. BOX 1023
Santa Maria, CA 93456



COTTER CHURCH SUPPLIES
369 GRAND AVENUE
South San Francisco, CA 94080



COTY SARL
PO BOX 29080
New York, NY 10087-9080



COYOTE LOGISTICS LLC
PO BOX 742636
Atlanta, GA 30374



CPL BUSINESS
P.O. BOX 660749
Dallas, TX 75266



CRANE WORLDWIDE LOGISTICS
P.O. BOX 844174
Dallas, TX 75284-4174




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 106 of
                                        132
CRIMSON WINE GROUP
2700 NAPA VALLEY CORP DR, SUITE B
Napa, CA 94558



Cullen D. Speckhart
COOLEY LLP
1299 Pennsylvania Ave
NW Ste 700
Washington, DC 20004



DAVE STREIFFER CO. INC.
5610 ARMOUR DRIVE
Houston, TX 77020



DIAGEO BRANDS BV
P.O. BOX 58182
AMSTERDAM, 1040 HD



DIAGEO GLOBAL SUPPLY
ST JAMES GATE BREWERY
DUBLIN 8
IRELAND



DKW INDUSTRIES, INC.
3041 NW 23RD WAY
Fort Lauderdale, FL 33311



DOMAINE SELECT WINE & SPIRITS
105 MADISON AVENUE, 13TH FLOOR
New York, NY 10016



DON SEBASTIANI & SONS
DEPT. LA 24262
Pasadena, CA 91185-4262




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 107 of
                                        132
DR PEPPER SNAPPLE GROUP
P O BOX 277237
Atlanta, GA 30384-7237



DREYFUS ASHBY, INC.
PO BOX 780064
Philadelphia, PA 19178



DUCLOT EXPORT
3 PLACE ROHAN
CEDEX
BORDEAUX, 33000



E. & J. GALLO WINERY
600 YOSEMITE BOULEVARD
Modesto, CA 95354



EDCO DISPOSAL CORPORATION
P.O. BOX 6887
Buena Park, CA 90622



EDRINGTON GROUP USA LLC
PO BOX 842279
Boston, MA 02284-2279



ELITE FREIGHT MANAGEMENT
PO BOX 953
Plainfield, IL 60544



ENTERPRISE RENT A CAR
P.O. BOX 749764
Los Angeles, CA 90074-9764




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 108 of
                                        132
ESSENCE CORP.
1221 BRICKELL AVENUE, SUITE 2100
Hialeah, FL 33012



EXPORTADORA SUR VALLES
AV. SANTA MARIA NO. 2670
OFICINA 107, PROVIDENCIA
SANTIAGO - CHILE



FETZER VINEYARDS
P.O. BOX 611
Hopland, CA 95449



FINCA DECERO
PERMASUR S.A.
SAN MARTIN 1167 PISO 1
MENDOZA, ARGENTINA



FLANAGAN VINEYARDS
PO BOX 1230
Windsor, CA 95492



FOLEY FAMILY WINES, INC.
DEPT. LA 24038
Pasadena, CA 91185-4038



FOLIO WINE COMPANY, LLC
550 GATEWAY DRIVE, SUITE 220
Napa, CA 94558



FRANCIS COPPOLA WINERY
28459 NETWORK PLACE
Chicago, IL 60673-1284




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 109 of
                                        132
FRANK-LIN DISTILLERS PRODUCTS LTD.
2455 HUNTINGTON DR.
Fairfield, CA 94533



FRED MEYER CO
3800 S.E. 22nd Avenue
Portland, OR 97202



FREDERICK WILDMAN & SONS
307 EAST 53RD STREET
New York, NY 10022



FREIGHT QUOTE
PO BOX 9121
Minneapolis, MN 55480



FREIXENET, S.A.
JOAN SALA, 2
8770 SANT SADURNI D'ANOIA
BARCELONA, ESPANA, SPAIN



FREMONT MISCHIEF DISTILLERY
127 N 35TH STREET
Seattle, WA 98103



FRITO-LAY INC.
99 BUKIT TUMAH ROAD
#05-01, ALFA CENTRE
SINGAPORE 229835



FROG'S LEAP
PO BOX 189
Rutherford, CA 94573




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 110 of
                                        132
FULL CONTAINER RECOVERY
5315 4TH EAST
Tacoma, WA 98424



GEKKEIKAN SAKE (USA), INC
1136 SIBLEY STREET
Folsom, CA 95630



GMDF
2 ROUTE DES PRINCES
84190 GIGONDAS
FRANCE



GRUPO COLOME S.A.
AV. AVELLANEDA 396
C1405CNQ
ARGENTINA,



GSC LOGISTICS INC
DEPT. LA 24640
Pasadena, CA 91185-4640



GSC NATIONAL TRANSPORTATION
DEPT LA 24674
Pasadena, CA 91185



HALFON CANDY COMPANY
9229 10TH AVENUE S.
Seattle, WA 98108



HANDBAG REPUBLIC INC.
18301 ARENTH AVENUE
Rowland Heights, CA 91748




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 111 of
                                        132
HEAVEN HILL INC.
P.O. BOX 729
Bardstown, KY 40004



HEINEKEN BROUWERIJEN B.V.
STADHOUDERSKADE 79
PO BOX 28, 1000aa
AMSTERDAM, 1072AE



HMC ADVERTISING, INC.
453 D STREET, SUITE C
Chula Vista, CA 91910



HORMEL FOODS CORPORATION
PO BOX 100352
Pasadena, CA 91189-0352



HUNEEUS VINTNERS, LLC
1040 MAIN STREET, SUITE 204
Napa, CA 94559



HYG FINANCIAL SERVICES INC
P.O. BOX 14545
Des Moines, IA 50306



HYG FINANCIAL SERVICES INC
P.O. BOX 14545
Des Moines, IA 50306



HYG Financial Services, Inc.
PO Box 014545
Des Moines, IA 50306-3545




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 112 of
                                        132
HYG Financial Services, Inc.
PO Box 014545
Des Moines, IA 50306-3545



HYG Financial Services, Inc.
PO Box 014545
Des Moines, IA 50306-3545



HYG Financial Services, Inc.
PO Box 014545
Des Moines, IA 50306-3545



HYG Financial Services, Inc.
PO Box 014545
Des Moines, IA 50306-3545



HYG Financial Services, Inc.
PO Box 014545
Des Moines, IA 50306-3545



IMPERIAL TOBACCO INT. LTD
PO BOX 76
NOTTINGHAM NG7 5PL
GREAT BRITAIN



Injured Workers Law Los Angeles
4221 Wilshire Blvd, Suite 420
Los Angeles, CA 90010



Internal Revenue Service
Centralized Insolvency Operati
PO Box 7346
Philadelphia, PA 19101-7346




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 113 of
                                        132
INTERVINE INC.
851 NAPA VALLEY CORP WAY, SUITE G
Napa, CA 94558



ITN WORLDWIDE
P.O. BOX 931423
Atlanta, GA 31193-1423



Jeremy Downs
Goldberg Kohn
55 East Monroe, Suite 3300
Chicago, IL 60603



Jesus Santacruz
1323 Olivina Ave
Livermore, CA 94551



JIM BEAM BRANDS CO.
222 MERCHANDISE MART PLZ
Chicago, IL 60654



John Casperson
3101 Western Avenue, Suite 500
Seattle, WA 98102-1000



JOHNSON & JOHNSON CONSUMER INC.
5618 COLLECTIONS CTR DR
Chicago, IL 60693



Johnson & Jonson Consumer Inc.
5618 COLLECTIONS CTR DR
Chicago, IL 60693




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 114 of
                                        132
JOSEPH DROUHIN
7 RUE d'ENFER
BP 80029
21201 BEAUNE CEDEX, FRANCE



JOSEPH PHELPS VINEYARDS
P.O. BOX 1031
Saint Helena, CA 94574



KAISER FOUNDATION HEALTH PLAN
FILE 5915
Los Angeles, CA 90074-5915



KING ESTATE WINERY, LP
80854 TERRITORIAL HWY
Eugene, OR 97405



KIONA VINEYARDS WINERY
44612 N. SUNSET ROAD
Benton City, WA 99320



KOBRAND CORPORATION
ONE MANHATTANVILLE ROAD
Purchase, NY 10577



LABEL VALUE
5704 W Sligh Ave
Tampa, FL 33634



LABOURE-ROI
RUE LAVOISIER BP 14
21700 NUITS ST GEORGES
FRANCE




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 115 of
                                        132
Law Offices of Scott Gursky
333 Bush Street
San Francisco, CA 94104-5821



Law Offices of Scott Gursky
333 Bush Street
San Francisco, CA 94104-5821



Lea Pauley Goff
500 West Jefferson Street, Suite 2000
Louisville, KY 40202-2828



LEASE ADMINISTRATION CENTER
4680 PARKWAY DR, STE 300
Mason, OH 45040



LONG SHADOWS VINTNERS LLC
3861 1ST AVENUE SOUTH, SUITE C
Seattle, WA 98134



LUNA VINEYARDS INC
2921 SILVERADO TRAIL
Napa, CA 94558



MAHLER-BESSE S.A.
49 RUE CAMILLE GODARD
33000 BORDEAUX
FRANCE



MAISON HEBRARD
15C BOS PLAN
33750 BEYCHAC ET CAILLAU
FRANCE




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 116 of
                                        132
MAISONS MARQUES & DOMAINS
383 FOURTH STREET, SUITE 400
Oakland, CA 94607



MARCHESI FRESCOBALDI
VIA SANTO SPIRITO 11
FIRENZE (FI), 50125



MARK ANTHONY GROUP INC.
500-887 GREAT NORTHERN WY
VANCOUVER, BC V5T 4T5
CANADA



MASTER MECHANICAL SERVICE
15181 NW 33 PLACE
Opa Locka, FL 33054



MATAGRANO INC.
440 FORBES BLVD
South San Francisco, CA 94080



MATSON LOGISTICS
P.O. BOX 99074
Chicago, IL 60693



MCKINSTRY CO LLC
PO BOX 3895
Seattle, WA 98124



MCPHERSON WINES
6 EXPO COURT
MOUNT WAVERLEY, VICTORIA
AUSTRALIA 3149




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 117 of
                                        132
Meghan Tepas
Freeborn & Peters
311 South Wacker Drive., Suite 3000
Chicago, IL 60606



MHW, LTD./HAUS ALPENZ USA
1129 NORTHERN BLVD., SUITE 312
Manhasset, NY 11030



MICHAEL DAVID WINERY
4580 WEST HIGHWAY 12
Lodi, CA 95242



MICHAEL J DEVINE & ASSOC.
3313 N. SEPULVEDA BLVD.
Manhattan Beach, CA 90266



Michael Modica
Altus Receivables Management
2400 Veterans Blvd, Suite 300
Kenner, LA 70062



MICHELLE C. UHLIG STOLDT
OESTERLEYSTRASSE
22587 HAMBURG
GERMANY



MILLERCOORS LLC
BIN #53060
Milwaukee, WI 53208



MODERN EXPRESS COURIER
P.O. BOX 1199
Oakland, CA 94604




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 118 of
                                        132
MONARQ AMERICAS LLC
55 MERRICK WAY, SUITE 202
Miami, FL 33134



MUL'S FAMOUS MIX, INC.
1055 N.W. 7TH STREET
Boca Raton, FL 33486



MUTUAL EXPRESS COMPANY
P.O. BOX 23801
Oakland, CA 94623



NESTLE WATERS NORTH AMERICA INC.
1322 CRESTSIDE DRIVE #100
Coppell, TX 75019



Nicholas J. Ferraro, Ferraro Employment
2305 Historic Decaur Rd., Ste. 100
San Diego, CA 92106



OFFICE DEPOT
PO BOX 29248
Phoenix, AZ 85038-9248



OFFICE DEPOT BUSINESS CREDIT
DEPT 56 - 6601292372
P.O. BOX 78004



OPEN WATER
3520 S MORGAN STREET, SUITE 204
Chicago, IL 60609




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 119 of
                                        132
ORIGINAL GOURMET FOOD CO.
52 STILES ROAD, SUITE 201
Salem, NH 03079



ORNELLAIA SOCIETA AGRICOL
A S.R.L.
VIA BOLGHERESE
191 BOLGHERI CASTAGNETO



OTIS MCALLISTER, INC.
P.O. BOX 8255
Pasadena, CA 91109-8255



PALLET CONSULTANTS CORP.
810 NW 13 AVENUE
Pompano Beach, FL 33069



PALM BAY INTERNATIONAL
P.O. BOX 978922
Dallas, TX 75397-8922



PAPE MATERIAL HANDLING
P.O. BOX 35144 # 5077
Seattle, WA 98124-5144



PATERNO IMPORTS, LTD.
2234 Paysphere Circle
Chicago, IL 60674



PENSKE TRUCK LEASING CO.
P.O. BOX 7429
Pasadena, CA 91109-7429




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 120 of
                                        132
Penske Truck Leasing Co. L.P.
PO Box 7429
Pasadena, CA 91109-7429



Penske Truck Leasing Co. L.P.
PO Box 7429
Pasadena, CA 91109-7429



PEPSI-COLA
2300 26TH AVENUE S
Seattle, WA 98144



PERSONNEL ONE
P.O. BOX 102332
Atlanta, GA 30368-2332



PETROCARD SYSTEMS, INC.
P.O. BOX 34243
Seattle, WA 98124-1243



PITCO FOODS
727 KENNEDY AVENUE
Oakland, CA 94606



PR AMERICAS TRAVEL RETAIL
PO BOX 405754
Atlanta, GA 30384-5754



PREMIUM PORT WINES, INC.
DEPT. 33316
P.O. BOX 3900
San Francisco, CA 94139




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 121 of
                                        132
PRODIGY DELIVERY, INC.
701 NW 214TH STREET, UNIT 218
Miami, FL 33169



PRODRIVERS
P.O. BOX 102409
Atlanta, GA 30368



PROXIMO SPIRITS, INC.
333 WASHINGTON STREET, 4TH FLOOR
Jersey City, NJ 07302



Quadient Leasing USA, Inc.
DEPT 3682
P.O.BOX 123682
Carol Stream, IL 60197



R & R SERVICES
29425 144TH AVENUE S.E.
Auburn, WA 98092



R&S OVERHEAD GARAGE DOOR INC.
1140 MONTAGUE AVE
San Leandro, CA 94577



RANDSTAD
P.O. BOX 894217
Los Angeles, CA 90189



RARE WINE CO.
280 VALLEY DRIVE
Brisbane, CA 94005




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 122 of
                                        132
READY REFRESH BY NESTLE
P.O. BOX 856680
Louisville, KY 40285-6158



REDDY ICE
PO BOX 730505
Dallas, TX 75373-0505



REMY COINTREAU INTERNATIONAL PTE LTD
152 BEACH ROAD #33-01/04
GATEWAY EAST, SINGAPORE 189



REPUBLIC NATIONAL DISTRIBUTING COMPANY
441 S.W. 12TH AVENUE
Deerfield Beach, FL 33442



ROYAL WINE COMPANY
63-65 LE FANTE WAY
P.O. BOX 17
Bayonne, NJ 07002-0017



RYDER TRANSPORTATION SERVICE
P.O. BOX 96723
Chicago, IL 60693



Ryder Truck Rental, Inc.
6000 Windward Parkway
Alpharetta, GA 30005



Ryder Truck Rental, Inc.
6000 Windward Parkway
Alpharetta, GA 30005




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 123 of
                                        132
S. MARTINELLI & COMPANY
DEPT 4467
P.O. BOX 44000
San Francisco, CA 94144



Samuel A. Danon
Hunton AK
1111 Brickell Ave, Suite 2500
Miami, FL 33131



SAN ANTONIO WINERY INC
737 LAMAR STREET
Los Angeles, CA 90031



SAZERAC COMPANY, INC.
10101 LINN STATION ROAD
Louisville, KY 40223



SERGIO CALLEJAS
36848 ELM STREET
Newark, CA 94560



SEVEN UP BOTTLING CO OF SF
P.O.BOX 742472
LOS ANGELES, CA



SEVEN-UP SNAPLE SOUTHEAST C/O AMERICAN
P.O. BOX 402443
Atlanta, GA 30384-2443



SEXTANT WINES
PO BOX 391
Paso Robles, CA 93447




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 124 of
                                        132
SHAW-ROSS INTERNATIONAL I
2900 SW 149TH AVENUE, SUITE 200
Hollywood, FL 33027



SILVERADO VINEYARDS
6121 SILVERADO TRAIL
Napa, CA 94558



SKURNIK WINES
PO BOX 1315
Syosset, NY 11791



SMT DUTY FREE, INC.
8935 NW 27TH STREET
Miami, FL 33172



SOKOL BLOSSER WINERY
P. O. BOX 399
Dundee, OR 97115



SOUTHERN GLAZER'S OF FL
P.O. BOX 864921
Orlando, FL 32886-4921



SOUTHERN GLAZER'S WINE TRAVEL SALES
4222 SOUTH FLORIDA AVE
Lakeland, FL 33813



STATE OF WASHINGTON
DEPARTMENT OF REVENUE
P O BOX 34051
Seattle, WA 98124-1051




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 125 of
                                        132
STERLING COMPUTER PRODUCTS
16135 COVELLO STREET
Van Nuys, CA 91406



Summit Funding Group, Inc.
4680 Parkway Dr., Ste. 300
Mason, OH 45040



Summit Funding Group, Inc.
4680 Parkway Dr., Ste. 300
Mason, OH 45040



Summit Funding Group, Inc.
4680 Parkway Dr., Ste. 300
Mason, OH 45040



Summit Funding Group, Inc.
4680 Parkway Dr., Ste. 300
Monroe, OH 45050



Summit Funding Group, Inc.
4680 Parkway Dr., Ste. 300
Mason, OH 45040



SUN PACKAGING TECHNOLOGIES INC
2200 NW 32nd St.
Suite 1700
Pompano Beach, FL 33069



SWANSON VINEYARDS
1050 OAKVILLE CROSS ROAD
P.O. BOX 148
Oakville, CA 94562




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 126 of
                                        132
SWIRE COCA-COLA, USA
PO BOX 3743
Seattle, WA 98124-3743



TAUB FAMILY SELECTIONS
P.O. BOX 733488
Dallas, TX 75373



THE APOLLO GROUP
6950 NW 77TH COURT
Miami, FL 33166



THE BOSTON BEER COMPANY
ONE DESIGN CENTER PLACE, SUITE 850
Boston, MA 02210



TMT USA INC
340 N SAM HOUSTON PARKWAY, SUITE 277
Houston, TX 77060



TOP LINE SRL
VIALE GORIZIA 24/D
00198 ROMA
ITALY



TRANSCOLD DISTRIBUTION USA
6858 SOUTH 190TH STREET
Kent, WA 98032



Traveler
777 Mariners Island Blvd.
Suite 250
San Mateo, CA 94404




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 127 of
                                        132
TREASURY WINE ESTATES
655 AIRPARK ROAD
Napa, CA 94558



TROPICAL HOME & GARDEN PEST CONTROL
11421 N.W. 27 COURT
Fort Lauderdale, FL 33323



UETA, INC.
EDIFICIO TORRE GLOBAL BK
CALLE 50, PISO NO. 36
PANAMA, REP. PANAMA



UHLIG BYPASS TRUST
6641 SARONI DRIVE
Oakland, CA 94611



UHLIG MARITAL TRUST NON EXEMPT
6641 SARONI DRIVE
Oakland, CA 94611



UHLIG SURVIVORS TRUST
6641 SARONI DRIVE
Oakland, CA 94611



UHLIG SURVIVORS TRUST
6641 SARONI DRIVE
Oakland, CA 94611



ULINE
PO BOX 88741
Chicago, IL 60680-1741




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 128 of
                                        132
V.R. CAMELOT, INC.
2739 SIGNAL PARKWAY
Signal Hill, CA 90755



VALERO FLEET SERVICES
P.O. BOX 300
Amarillo, TX 79105



VANDEGRIFT FORWARDING CO.
100 WALNUT AVENUE, SUITE 600
Clark, NJ 07066



VASCO ROAD LANDFILL
PO BOX 31001-2265
Pasadena, CA 91110-2265



VECTOR INTERNATIONAL, INC
9475 NICOLA TESLA CT
San Diego, CA 92154



VENPORT ENTERPRISES LTD
12608 19A AVENUE
SUREY, BC V4A 9G6



VINA CONCHA Y TORO S.A.
AVDA. NUEVA TAJAMAR 481
TORRE NORTE, CASILLA 213
SANTIAGO, CHILE



VINA COUSINO MACUL S.A.
AV QUILIN 7100
PENALOLEN
SANTIAGO, CHILE




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 129 of
                                        132
VINEDOS FAMILIA CHADWICK SPA
NUEVA TAJAMAR 481
TORRE SUR, LAS CONDES



VINEYARD BRANDS / REGIONS BANK
ATTN: LOCKBOX PO BOX 2153
DEPARTMENT 4918
Birmingham, AL 35287-4918



VINO DEL SOL, INC.
DEPT. #0512
P.O. BOX 1000
Memphis, TN 38148-0512



VINTUS LLC
CL #5185
P.O.BOX 95000
Philadelphia, PA 19195-5100



WAGNER WINE COMPANY, LLC
DEPT LA 24371
Pasadena, CA 91185-4371



WEITNAUER DUTY FREE, INC.
2315 NW 107 AVENUE
MIAMI FREE ZONE BOX 45
Miami, FL 33172



Wells Fargo Bank
2450 Colorado Ave., Ste. 3000W
Santa Monica, CA 90404



WENTE FAMILY ESTATES
5565 TESLA ROAD
Livermore, CA 94550




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 130 of
                                        132
WHYTE AND MACKAY LIMITED
310 ST. VINCENT STREET
GLASGOW G2 5RG SCOTLAND



WILLIAM GRANT & SONS
BELLSHILL, UNITED KINGDOM
ML4 3AN



WILLIAMS & HUMBERT S.A.U.
P.K. 641,75 - P.O. BOX 23
11408JEREZ DE LA FRONTERA
SPAIN



WINE APOTHECARY LLC
PO BOX 621
Los Olivos, CA 93441



WINE HOOLIGANS LLC
201 ALAMEDA DEL PRADO, SUITE 102
Novato, CA 94949



WINEBOW (POMPANO BEACH)
PO BOX 667197
Pompano Beach, FL 33066



WINGARA WINE GROUP
1 SANDOWN DRIVE
MILDURA, VICTORIA 3500
AUSTRALIA



WORLD EQUITY BRAND BUILD
1399 SW 1ST AVENUE, SUITE 200
Miami, FL 33130




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 131 of
                                        132
WTC IMPORT EXPORT LLC
5015 GEORGIA AVENUE
West Palm Beach, FL 33405



XPO LOGISTICS FREIGHT
29559 NETWORK PLACE
Chicago, IL 60673-1559



YOUNG'S MARKET COMPANY
P.O. BOX 30145
Los Angeles, CA 90030-0145




Case: 20-40990   Doc# 1   Filed: 06/02/20 Entered: 06/02/20 16:05:38   Page 132 of
                                        132
